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                              UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF ARKANSAS
                                    WESTERN DIVISION


 UNITED STATES OF AMERICA


 v.                                                    NO. 4:97-CR-00243-(2) GTE
                                                       (Civil Case No. 4:06-CV-1608)

 DANIEL LEWIS LEE


                                         MEMORANDUM OPINION

        Before the Court is Petitioner Daniel Lewis Lee’s Motion to Set Aside Judgment under

 28 U.S.C. § 2255.1 The United States opposes any post-conviction relief.2 Additional relevant

 pleadings include: (1) Petitioner’s Reply in Support of 2255 Motion;3 (2) Petitioner’s Appendix

 to Brief;4 (3) Petitioner’s Supplemental Submission (mtDNA results) in additional support of §

 2255 Motion and Brief in Support;5 (4) Government’s Supplemental Memorandum Opposing §

 2255 Motion and Supplement;6 (5) Petitioner’s Supplemental Reply Memorandum regarding the

 DNA Exclusion;7 and (6) Petitioner’s Notice of Filing of Transcript of Gloria Kehoe’s 3/31/98

 Statement;8 (7) Government’s Reply to Petitioner’s Response to the Court’s Order of May 15,



        1
            Docket Number (“Doc. No.”) 1118, hereinafter referred to as “Petitioner’s motion.”
        2
            Doc. No. 1126.
        3
            Doc. No. 1134.
        4
            Doc. No. 1135, consisting of a compact disk of verdict sheets in capital cases.
        5
            Doc. No. 1138 & 1139.
        6
            Doc. No. 1144 & 1145.
        7
            Doc. No. 1151.
        8
            Doc. No. 1158.

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 2008;9 and (8) Petitioner’s Second Supplemental Memorandum in Support of his 28 U.S.C. §

 2255 Motion Pursuant to the Court’s May 22, 2008 Order.10

          The Court has considered carefully the above pleadings. Additionally, the Court has

 undertaken a review of the relevant portions of the voluminous record in this matter. Based upon

 its careful consideration of all issues presented, the Court concludes that Petitioner is entitled to

 no relief.

 I.      BACKGROUND

          Simultaneously with the filing of this Memorandum Opinion, the Court is filing a

 separate Memorandum Opinion addressing the § 2255 motions filed by Petitioner Danny Lee’s

 co-defendant Chevie Kehoe. Significant portions of the Memorandum Opinions are the same, as

 they address many similar or identical arguments for relief presented by both Petitioners. This

 Memorandum Opinion is significantly broader because it also addresses challenges to the

 sentencing phase presented by Petitioner Lee, which were not presented by Petitioner Kehoe.11

          A.         Procedural History

          On July 7, 1998, Chevie Kehoe (“Kehoe”),12 Daniel Lewis Lee (“Lee”), and Kirby Kehoe

 (“Kirby”)13 were charged in a seven-count Superseding Indictment.14 Lee and Kehoe were both


          9
               Doc. No. 1160.
          10
               Doc. No. 1161.
          11
             During the sentencing phase, the jury had only two options: life imprisonment or death. Because the
 jury rejected a death sentence for Kehoe, he was left with the most lenient sentence available for the offenses of
 conviction. For obvious reasons, Chevie Kehoe did not challenge the jury’s decision to impose life rather than death.
          12
             Throughout this opinion, “Kehoe” refers to Chevie Kehoe. To avoid confusion, the Court will refer to
 other members of the Kehoe family (primarily, Kirby, Gloria and Cheyne Kehoe) by either their full names or their
 first names only.
          13
               Kirby is the father of Chevie Kehoe.
          14
           A fourth defendant, Faron Loveless, was charged in the racketeering count in the original Indictment.
 The Government dismissed Loveless prior to filing the Superseding Indictment.

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 charged in all 7 counts. Count 1 charged all three defendants with racketeering in violation of 18

 U.S.C. § 1962(d). Count 1 alleged ten racketeering acts, of which Lee was charged with 4,

 specifically, the Mueller family murders/robbery and the Spokane City Hall bombing

 (racketeering acts 4, 5, 6, and 7 of Count 1).15 Chevie Kehoe was charged in all ten racketeering

 acts. Count 2 charged all three Defendants with a racketeering conspiracy in violation of 18

 U.S.C. § 1962(d). Counts 3, 4, and 5 of the Superseding Indictment charged Lee and Kehoe with

 murder in aid of racketeering in violation of 18 U.S.C. § 1959 alleging that they murdered

 William Mueller, Nancy Mueller, and Sarah Powell, Nancy Mueller’s eight-year-old daughter.

 Count 6 charged all three Defendants with a robbery conspiracy in violation of 18 U.S.C. §

 1951(a) for the second robbery of the Muellers. Count 7 charged Lee and Kehoe with the use of

 a firearm in the Mueller robbery and murders in violation of 18 U.S.C. § 924(c).

        Before trial, Kirby pled guilty to racketeering as charged in Count 1. Also before trial,

 the Government dismissed Counts 6 and 7. The Government pursued the death penalty against

 both Kehoe and Lee.

        The trial began on March 1, 1999. A single jury was selected to hear both the guilt and,

 if necessary, the penalty phases for both Defendants. On May 4, 1999, the jury found Kehoe and

 Lee guilty of the five remaining counts in the Superseding Indictment. As to Count 1, Lee was

 found to have committed the three racketeering acts associated with the murder of the Mueller

 family, but was found not to have committed the racketeering act related to the Spokane City

 Hall bombing. Also as to Count 1, Kehoe was found to have committed all of the alleged

 racketeering acts with the exception of those for the robbery in the first degree of Jill and




        15
             Co-defendant Chevie Kehoe was charged in all ten racketeering acts.

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 Malcolm Friedman, money laundering, first degree murder of Jeremy Scott, and first degree

 arson related to the Spokane City Hall bombing

        Kehoe and Lee’s sentencing phases were conducted separately, with Kehoe’s sentence

 determined first. The jury sentenced Kehoe to life without possibility of release for each of the

 three murders. The same jury then sentenced Lee to death for each of the three Mueller murders.

 On May 13, 2002, this Court imposed a Judgment of Death for Lee on Counts 3, 4, and 5, and

 Life Imprisonment on Counts 1 and 2, to run concurrent.

        Lee sought to set aside the death penalty and attempted to obtain by subpoena evidence

 from Attorney General Reno and Deputy Attorney General Holder. This Court denied the

 Government’s motion to quash the two subpoenas, but was reversed by the Eighth Circuit Court

 of Appeals, which issued a writ of mandamus directing that the subpoenas be quashed.16 This

 Court subsequently granted Lee’s request for a new penalty phase trial based on its conclusion

 that the Government exceeded the permissible scope of cross-examination in questioning Lee’s

 mental health expert, improperly elicited aggravating evidence from Lee’s own rebuttal expert,

 and breached its own internal protocol for imposing the death penalty.17 The Eighth Circuit

 Court of Appeals reversed and reinstated the death penalty.18




        16
             In re United States, 197 F.3d 310 (8th Cir. 1999).
        17
             United States v. Lee, 89 F. Supp. 2d 1017 (E.D. Ark. 2000).
        18
             United States v. Lee, 274 F.3d 485 (8th Cir. 2001), cert. denied, 537 U.S. 1000 (2002).

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         Both Lee and Kehoe appealed their convictions. The Eighth Circuit Court of Appeals

 affirmed Lee’s conviction.19 The Supreme Court denied Lee’s certiorari petition on June 27,

 2005.20 Lee timely filed the present motion for relief under § 2255 on June 26, 2006.

         B.         Facts Supporting Conviction

                    1.       The Enterprise – the Aryan Peoples’ Republic

         The Government alleged that Defendants formed an “enterprise” known as the Aryan

 People’s Republic, the Aryan People’s Resistance, or the Aryan People’s Revolution (“APR”).

 More specifically, the Government alleged that Chevie Kehoe was the leader of the enterprise

 and that Danny Lee, Cheyne Kehoe, Kirby Kehoe, and Faron Loveless were principal assistants.

 Chevie Kehoe conceptualized the enterprise based in part on Robert Matthews’s group, known as

 “The Order.”21 The group believed that whites were the chosen race,22 that Jews were the devil’s

 children and should die,23 and that the Bible justified violence.24 Kehoe was so concerned with

 racial purity that at one point he contemplated killing his own wife and children because of

 suspicions that his wife’s blood was tainted with Indian blood and therefore impure.25




         19
            United States v. Lee, 374 F.3d 637 (8th Cir. 2004). Kehoe’s conviction was also affirmed. United States
 v. Kehoe, 310 F.3d 579 (8th Cir. 2002).
         20
              Lee v. United States, 545 U.S. 1141 (2005).
         21
             Tr. 1317-18. (Unless otherwise noted, the transcript referenced is the trial transcript beginning on
 February 26, 1999, through May 14, 1999). Matthews’s activities are described in a book authored by him entitled
 “The Silent Brotherhood.” Tr. 1310. Kehoe gave a copy of this book to Lee and to others. Tr. 1310, 4964.
         22
              Tr. 1316, 1433.
         23
              Tr. 1433-34.
         24
              Tr. 1435.
         25
              Tr. 1440.

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        The purpose of the enterprise was to establish an Aryan Homeland for the benefit of the

 white man, free of “mongrel races,” in the Northwest United States.26 Kehoe envisioned that his

 group could assume control in the aftermath of chaos created by simultaneously killing large

 numbers of judges and law enforcement officials.27 He hoped to raise enough money to buy a

 remote piece of property to set up a training camp and to attract more members.28

                   2.       1995 Mueller Burglary (Racketeering Act 1)29

        William Mueller, his wife Nancy, and eight year old Sarah lived in Tilley, Arkansas.

 William Mueller was a gun show enthusiast who had strong anti-government views. The

 Mueller family and the Kehoe family became acquainted through gun shows when the

 Kehoe family lived in Arkansas.30 Gloria Kehoe developed a friendship with the Muellers.31

        In February 1995, Kehoe stole a trailer near Harrison, Arkansas, and pulled it to the home

 of his parents near Kingston, Arkansas.32 On February 12, 1995, Chevie and Kirby Kehoe went

 to the Mueller home while the Mueller family was attending a gun show.33 They robbed the

 home and divided the stolen property. Chevie Kehoe took some of the stolen property to




        26
             Tr. 1319-20, 1375-76.
        27
             Tr. 1320, 1321.
        28
             Tr. 5370.
        29
             Danny Lee was not charged in this racketeering act.
        30
             Tr. 4950.
        31
             Id.
        32
             Tr. 1760, 4951.
        33
             Tr. 4952-54.

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 Washington state. Kirby later became angry at his son, believing that Chevie had shorted him his

 share of the proceeds from coins that Chevie sold in Washington state.34

                   3.         Friedman Kidnaping and Robbery (Racketeering Act 2)35

        On June 12, 1995, Faron Lovelace kidnaped and robbed Malcolm and Jill Friedman at

 their home outside of Colville, Washington.36 Chevie and Kirby Kehoe dropped Mr. Lovelace

 off near the Friedman’s home before the robbery.37 After robbing them of approximately

 $15,620, two guns, and a bottle of tequila, Lovelace had the Friedmans drive him to Spokane,

 Washington, where he stole their car and left them at a restaurant.38 Lovelace was then picked up

 by Kehoe and Cheyne, who drove him from Spokane to Idaho.39 Kehoe knew the Friedmans

 from his youth, when he worked for them both in their grocery store and in their home.40

        Lovelace gave $15,000 of the money stolen from the Friedmans to Kehoe, who kept

 $13,000 and allowed Lovelace to keep $2,000.41 Kehoe later gave Kirby $4,000.42 Between

 June 18 and July 11, 1995, Kehoe and his wife used some of the proceeds from the robbery to

 purchase five acres of land near Priest River, Idaho.43



        34
             Tr. 4955-56.
        35
             Danny Lee was not charged in this racketeering act.
        36
             Tr. 4139-4147.
        37
             Tr. 4963.
        38
             Tr. 4143-47.
        39
             Tr. 5299-5301.
        40
             Tr. 4137.
        41
             Tr. 5300-02.
        42
             Tr. 4963.
        43
             Tr. 4189-97, 4199.

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                   4.        The Mueller Family Murders (Racketeering Acts 4-6; Counts 3-5)

         Sometime after Christmas in 1995 or early January of 1996, Kehoe and Lee44 left

 Spokane, Washington. They told friends that they were going to Idaho to build a barn,45 but

 instead traveled to Arizona where they met Kirby and Gloria Kehoe (“Gloria”).46 After a brief

 stay in Arizona, Kehoe and Lee left for Oklahoma. Kehoe told Gloria that he was taking Lee to

 see Lee’s mother because Lee did not have transportation or money to make the trip.47 Lee’s

 mother lived in Yukon, Oklahoma (near Oklahoma City) and had undergone emergency gall

 bladder surgery.48

         On January 10, 1996, around 6:00 p.m., Kehoe and Lee left Lee’s mother’s house in

 Oklahoma. Lee’s mother gave them as much as $40.00 before they left town because they were

 low on cash.49 Kehoe and Lee were driving Kehoe’s blue 1985 GMC diesel truck, which he had

 purchased from his parents.50

         On or about January 11, 1996, Kehoe and Lee broke into the Tilley, Arkansas home of

 William Mueller, Nancy Mueller, and Sarah Powell.51 Kehoe and Lee were dressed in raid gear


         44
            Sean Haines, Danny Lee’s former roommate, testified that Chevie Kehoe and Danny Lee first met at his
 apartment in late August or early September in 1995. Tr. 2773, 2776-77. Danny Lee moved in with Chevie Kehoe
 in April of 1996. Tr. 2791.
         45
              Tr. 2778-79, 2898.
         46
              Gloria Kehoe is the mother of Chevie Kehoe.
         47
              Tr. 5126-27, 5132-33.
         48
              Tr. 2617-18.
         49
              Tr. 2618-20.
         50
             Tr. 5127. The Court notes a minor discrepancy in the record regarding the GMC’s model year. Gloria
 repeatedly referred to it as a model year 1985, but Cheyne described it as being a model year 1984. Tr. 5356. The
 Court does not know which is correct.
         51
          While the exact date of the murders was disputed at trial, there was substantial evidence to support the
 Government’s theory that the Mueller family was murdered on January 11, 1996.

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 that gave the impression that they were federal law enforcement officers. When the Muellers

 returned home, Kehoe and Lee emerged from hiding and pretended to be federal law enforcement

 officers. They had to physically subdue William Mueller who strongly resisted. They suffocated

 the Muellers by placing plastic bags over their heads and using duct tape to secure the plastic

 bags.52 The undisputed evidence was that Lee was unwilling to kill Sarah, the little girl, so

 Kehoe killed her.53 After killing the Muellers, Kehoe and Lee transported their bodies to Pope

 County and threw the bodies, weighted down with rocks, into the Illinois Bayou.54

         Kehoe and Lee took cash, coins, numerous firearms, firearm parts, gun display cases, and

 ammunition from the Mueller home. Kehoe estimated the value of the cash and gold taken to be

 $50,000. He estimated the value of the firearms and firearm parts to be to be $30,000. For his

 part in the crime, Lee received $3,000 or $4,000 and a pistol.55

         Kehoe and Lee returned with the stolen property to the Shadows Motel in Spokane,

 Washington, a place where Kehoe stayed off and on. The evidence established that they were

 back in Spokane no later than January 14, 1996, at 5:59 p.m., when Lee called his mother.56

         Kehoe explained the large quantity of guns, gun parts, and cash in his possession to Jeff

 Brown, manager of the Shadows Motel, by stating that the guns and gun parts were on




         52
             There was testimony that Kehoe and Lee shocked the Muellers with stun guns, causing them to pass out,
 before suffocating them. Tr. 4974.
         53
              Tr. 5328.
         54
              Tr. 5327-29.
         55
              Tr. 5330.
         56
              Tr. 2610, 2620-22.

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  consignment from a dealer.57 Kehoe later provided a similar explanation to his brother,

  Cheyne.58

         On February 4, 1996, Gloria arrived at the Shadows Motel from Arizona and saw a large

  quantity of merchandise in her son’s room.59 During a trip to the grocery store, Kehoe confessed

  to Gloria that he “put Bill and Nancy on a liquid diet.”60 He then proceeded to tell Gloria in

  detail how he and Lee murdered and robbed the Muellers.61 Later, at the motel, Lee also

  confessed his involvement in the murders to Gloria.62

         On February 13, 1996, a man named Travis Brake was arrested in Seattle, Washington,

  and the police confiscated a .45 caliber Colt pistol from him.63 The pistol was later linked to a

  .45 caliber Colt box belonging to the Muellers.64 Brake testified that he purchased the gun at a

  gun show from an older man, a young man, and a young boy.65 This information led

  investigators to the gun show where Brake had purchased the gun and then to the Kehoes at the




         57
              Tr. 2894-98.
         58
              Tr. 5319.
         59
              Tr. 4969-70, 5603, 5138.
         60
              Tr. 4971.
         61
              Tr. 4971-74.
         62
              Tr. 4975.
         63
              Tr. 3190.
         64
              Tr. 3165-66, 3176-77.
         65
              Tr. 3182.

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  Shadows Motel. Records revealed that “K.M. Gumm” (Chevie Kehoe’s wife)66 rented tables at a

  gun show in Seattle over the weekend of February 11, 1996.67

          On June 28, 1996, the bodies of the Mueller family were discovered. A woman fishing

  near a bridge that crossed the Illinois Bayou snagged two tennis shoes tied together with

  “something that was flapping around extending from it.”68 This discovery prompted a dragging

  operation that led to the recovery of portions of the bodies of William Mueller, Nancy Mueller,

  and Sarah Powell. Plastic bags were duct taped around the heads of all three bodies. One body

  was recovered with a large rock duct taped to it. The condition of the bodies indicated that rocks

  had been similarly placed around the other two bodies, by folding their arms over the rocks and

  then using duct tape to secure the rock to the body.69

          In late June or early July of 1996, Kehoe had his 1985 GMC diesel truck – the vehicle

  that he and Lee took to Arkansas when they murdered the Muellers – painted white.70 He then

  traded the vehicle to his father.71

          On December 10, 1996, Sean Haines, Lee’s former roommate, was arrested in South

  Dakota with a Bushmaster rifle in his possession.72 The rifle had been reported stolen and was




          66
              While Karena Kehoe, a/k/a Karena Gunn, was Kehoe’s wife and the mother of his children, Kehoe
  briefly had a second wife. From August through November of 1995, Kelly Kramer lived with Kehoe and Karena in
  Priest River, Idaho, in a polygamous relationship. (Tr. 4251-52, 4256-57, 4267).
          67
               Tr. 3178-79.
          68
               Tr. 3074-75.
          69
               Tr. 3104, 3118.
          70
               Tr. 3044-56.
          71
               Tr. 5356.
          72
               Tr. 2794.

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  registered to the Muellers. Sean Haines told police he acquired the rifle from Chevie Kehoe.73

  Haines called Lee and informed him police were questioning him about the rifle.74 Lee told

  Kehoe about Haines’s arrest.75 On December 11, 1996, the day after Haines was arrested, Kehoe,

  his wife, and children left the R.V. park in Spokane, Washington, where their motor home had

  been parked.76 Danny Lee left for Oklahoma.77

                    5.       Ohio Shootings (Racketeering Act 9)78

         After leaving Spokane, Kehoe, his wife Karena, and their three children arrived in Yaak,

  Montana, with their motor home and the blue Suburban.79 Kirby and Gloria were already living

  there. Also living there were Cheyne, his wife Tanna, and their baby. Shortly thereafter,

  Kehoe’s and Cheyne’s families left in the motor home, pulling the blue Suburban behind them.

  They planned to travel to Arizona to look for construction work.80 Before leaving, Cheyne

  accompanied his brother to a storage unit in Old Town, Montana, where Kehoe filled the

  Suburban with guns, ammunition, and miscellaneous gun parts.81




         73
              Tr. 2794-98.
         74
              Tr. 2799.
         75
              Tr. 4978-80.
         76
              Tr. 4469-73.
         77
              Tr. 4980.
         78
              Danny Lee was not charged in this racketeering act.
         79
              Tr. 5317.
         80
              Tr. 5317-20.
         81
              Tr. 5318.

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            Kehoe and Cheyne attended gun shows in Phoenix and Tucson, Arizona.82 While

  selecting a gun to sell at one of the shows, Kehoe remarked to Cheyne that he needed to get rid of

  a particular shotgun because it was “one of the Muellers’ guns.”83

            The two families traveled from Arizona to Galveston, Texas. By then they had decided to

  go on the “gun show circuit,” rather than find construction work.84 While in Galveston, Kehoe

  told Cheyne that the guns, parts, and accessories in his possession had belonged to the Muellers.

  Kehoe then confessed to Cheyne that he and Lee had murdered the Muellers. Kehoe provided

  considerable detail about the manner in which the crime had been committed.85 He also showed

  Cheyne the raid gear he and Lee had worn.86

            After leaving Galveston, the two families traveled through Alabama, Florida, North

  Carolina, and West Virginia, before heading back west. They arrived in Ohio on January 21,

  1997.87 While in Ohio, Kehoe arranged to meet Lee in Greensboro, Kentucky, but Lee failed to

  show.88

            On February 15, 1997, Kehoe and Cheyne were on their way to the campground where

  they were staying when they were stopped by law enforcement officers in Wilmington, Ohio.

  The traffic stop escalated into a shoot-out. Cheyne exited the truck and exchanged gunfire with a




            82
                 Tr. 5321.
            83
                 Tr. 5323.
            84
                 Tr. 5325.
            85
                 Tr. 5326-30.
            86
                 Tr. 5329.
            87
                 Tr. 5332-33.
            88
                 Tr. 5342.

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  Clinton County, Ohio deputy sheriff. Following the shooting, Cheyne fled on foot while Kehoe

  jumped into the blue Suburban and drove away.89

          Shortly after the first shoot-out, a city police officer located the blue Suburban, with

  Kehoe inside, parked a short distance away.90 As the officer exited his vehicle, Kehoe opened

  fire on the officer and another officer who had arrived at the scene. Kehoe fired approximately

  33 rounds.91 A civilian bystander was shot in the arm.92 Kehoe escaped on foot.

          A search of the Suburban revealed, among other things, federal officer raid jackets, FBI

  caps, bullet proof vests, guns, various gun parts, ammunition, holsters, handcuffs, and duct

  tape.93 In one of the caps, a hair was found that was later determined to be microscopically

  similar to Lee’s hair.94

          Following the shoot-out, Kehoe and Cheyne eventually reunited with their families with

  the help of Kirby and Gloria.95 Kehoe and Cheyne decided to flee together. Kirby agreed to help

  them get a vehicle. Kirby sold the 1985 GMC truck, the paint on which had been changed from

  its original blue to white, back to Kehoe.96 After registering the GMC truck in Idaho, Kehoe and

  Cheyne traveled with their families to Arizona and then to Utah, where they met a rancher named




          89
               Tr. 5343-48.
          90
               Tr. 4568-69.
          91
               Tr. 4573-76, 4594-85, 4612.
          92
               Tr. 4600-04.
          93
               Tr. 4633-98 (Officer who conducted search of Suburban describing vehicle contents).
            94
               Tr. 4722. The Court notes that Lee was recently excluded by DNA testing as the source of the hair from
  the “raid cap.”
          95
               Tr. 5354-56.
          96
               Tr. 5356.

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  Rod Leavitt.97 Kehoe and Cheyne agreed to take care of Leavitt’s alfalfa ranch in Beryl

  Junction, Utah, so they moved there with their families.98

                     6.       Cheyne Kehoe’s Surrender

         Chevie Kehoe was upset about losing so many firearms and accessories in the aftermath

  the Ohio shootout. While in Utah, Kehoe discussed with Cheyne the possibility of murdering

  Kirby and Gloria in order to acquire Kirby’s weapons and ammunition. Kehoe also commented

  that he could then take his other brothers, raise them, and use them as recruits for the APR.99

         Cheyne, having become fearful of his brother, decided that he was going to leave. In June

  1997, Cheyne, his wife and child took Kehoe’s GMC truck and left the Utah ranch. On June 16,

  1997, after stopping to see his parents in Yaak, Cheyne turned himself in to local authorities in

  Colville, Washington.100

         An FBI forensic chemist later determined that paint samples taken from the GMC truck

  were “consistent, very similar” to metallic blue paint chips found in duct tape removed from the

  bodies of the Mueller family.101

         On June 17, 1997, Kehoe was arrested in Cedar City, Idaho.

                     7.       Gloria Kehoe’s Cooperation

         In early March 1998, Gloria contacted ATF agents in Spokane and began cooperating

  with the authorities. Gloria was concerned that her husband, Kirby, would kill her because “she




         97
               Tr. 5357-60.
         98
               Tr. 5368.
         99
               Tr. 5374.
         100
               Tr. 5374-76, 5378.
         101
               Tr. 3658-60, 3678-84.

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  knew too much.”102 Gloria provided information that prompted the authorities to search two

  rental storage units – one in Thompson Falls, Montana, and the other in Old Town, Idaho.

          On March 6 and 7, 1998, an ATF agent searched a storage unit at Thompson Falls,

  reported by Gloria to have been rented by Kirby.103 Inside the unit were large quantities of guns,

  hand grenades, grenade parts, a machine gun, assault weapons, and over 30,000 rounds of

  ammunition of various calibers including armor piercing ammunition. Also found were a Maddi

  AK-47 gun, which had been registered to Nancy Mueller104 and some Black Hills ammunition,

  which was determined, by matching serial numbers, to previously have been sold to William

  Mueller.105

          In April of 1998, the authorities searched a storage unit in Old Town, Idaho, reported by

  Gloria to have been rented by Chevie Kehoe.106 Among the items found in the search were two

  display cases similar to those used by William Mueller. The cases had fibers in them similar to

  the carpet in the Mueller home.107 One of the cases had a hair similar to William Mueller’s in

  it.108 Fingerprints were found on one of the display cases that were determined to have been left

  by Kehoe and Lee.109 Other items seized included personal papers belonging to Kehoe and his




          102
                Tr. 3476-77, 4980.
          103
                Tr. 3377-78, 3478.
          104
                Tr. 3385, 3401-02.
          105
                Tr. 3390-92, 3527-30.
          106
                Tr. 3479-80.
          107
                Tr. 3646-50.
          108
                Tr. 3651-52.
          109
              Tr. 3708-12 (The fingerprint analyst testified that he found three matching fingerprints for Danny Lee
  and one for Chevie Kehoe).

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  wife, Karena, a Rubbermaid container filled with Mueller property, and white supremacist and

  survivalist literature.110

          C.         Strength of the Evidence

          The Court has outlined some of the evidence linking Kehoe and Lee to the Mueller

  murders in part to demonstrate the abundance of evidence supporting the guilt phase convictions.

  Those bare facts alone can not convey the demeanor of the witnesses who testified, the scope

  and detail of the Government’s evidence, or the general overall tenor of the case against Kehoe

  and Lee. While the bulk of the evidence at trial related to Kehoe, the jury’s conclusion that Lee

  was with Kehoe when the Muellers were murdered and that he participated in the murders was

  well-founded. As this brief recitation of the facts also demonstrates, there was no question about

  Kehoe and Lee’s respective roles: Chevie Kehoe was the ringleader, and Danny Lee was the

  follower.

          Much of Lee’s argument relates to the sentencing phase and the inherent unfairness of

  Lee’s death sentence as compared to Kehoe’s life sentence. This Court’s previous rulings

  sympathized with this view, but, in evaluating this argument on collateral review, the Court must

  follow the law as interpreted and applied by the Eighth Circuit Court of Appeals.

  II.     DISCUSSION OF PRELIMINARY ISSUES

          Petitioner Danny Lee asserts that he is entitled to post conviction relief and raises the

  following claims: (1) ineffective assistance of counsel during the guilt phase of his trial, with

  various subparts; (2) ineffective assistance of counsel during the sentencing phase of his trial,

  with various subparts; (3) ineffective assistance of appellate counsel, with various subparts; (4)

  that the death penalty is unconstitutional because it is sought and imposed in an arbitrary and


          110
                Tr. 3479, 3610-28.

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  capricious manner; (5) that it was error to admit evidence of Lee’s juvenile conviction related to

  the Wavra murder; (6) that counsel did not meet the statutory definition of “learned in the law

  applicable to capital cases”; and (7) there is newly discovered evidence bearing on Kirby’s role

  in the offense.

          Before taking up the merits of Petitioner’s claims, the Court will address the issue of the

  necessity of a hearing. In considering a petitioner’s challenge to his federal custody under §

  2255, the Court is required to grant a prompt hearing “[u]nless the motion and the files and

  records of the case conclusively show that the prisoner is entitled to no relief.”111 The

  Government contends that Petitioner has failed to allege facts which justify a hearing. The Court

  agrees. The Court’s determination is based upon a review of the complete record in this matter,

  including relevant portions of the voluminous trial transcript, and the absence of the necessary

  offers of proof supporting Petitioner’s claims.

          More particularly, Petitioner has failed to include supporting affidavits or other

  independent support for the testimony of certain persons whom he contends should have been

  called to testify. Likewise, he has failed to offer independent support for the contention that

  certain witnesses who were called should have been cross-examined differently. He asserts that

  the failure to call these persons as witnesses or to cross-examine certain witnesses differently

  constitutes ineffective assistance on the part of his counsel. The Court specifically concludes,

  under such circumstances, that it is not required to conduct a hearing to permit the “discovery”

  testimony of the numerous witnesses whom Petitioner contends should have been called to testify

  or who should have been cross-examined differently.112 Even accepting Petitioner’s description


          111
                28 U.S.C. § 2255.
          112
               See Kafo v. United States, 467 F.3d 1963 (7th Cir. 2006); Porcaro v. United States, 832 F.2d 208, 212-
  13 (1st Cir. 1987) (per curiam).

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  of how such witnesses might have testified, the Court still concludes that no hearing is required.

  III.    INEFFECTIVE ASSISTANCE OF COUNSEL DURING THE GUILT PHASE

          A.         Legal Standard

          To establish an ineffective assistance claim Petitioner Lee has a heavy burden since

  courts “indulge a strong presumption that counsel’s conduct falls within the wide range of

  professionally reasonably assistance and sound trial strategy.”113 To prevail, Petitioner must not

  only establish that his attorneys’ performance was constitutionally deficient, but he must also

  demonstrate that he was prejudiced as a result of that deficient performance.114 Indeed, courts are

  not required to analyze the performance prong if they determine that a petitioner suffered no

  prejudice as a result of the allegedly deficient performance.115 Furthermore, “reasonable trial

  strategy does not constitute ineffective assistance of counsel simply because it is not

  successful.”116 As pointed out in the leading case of Strickland v. Washington,117 the distorting

  effects of hindsight must be avoided and courts “must judge the reasonableness of counsel’s

  challenged conduct on the facts of the particular case, viewed as of the time of counsel’s

  conduct.”118 In evaluating counsel’s conduct “judicial scrutiny of counsel’s performance must be

  highly deferential.”119




          113
                Driscoll v. Delo, 71 F.3d 702, 706 (8th Cir. 1995).
          114
                United States v. Robinson, 301 F.3d 923, 925 (8th Cir. 2002).
          115
                Pryor v. Norris, 103 F.3d 710, 713 (8th Cir. 1997).
          116
                Graham v. Domire, 212 F.3d 437, 440 (8th Cir. 2000).
          117
                466 U.S. 668 (1984).
          118
                Id. at 690.
          119
                Id. at 689.

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         Counsel’s conduct is deficient if it falls “outside the wide range of professionally

  competent assistance.”120 Counsel’s performance will be considered objectively unreasonable if

  “counsel failed to exercise the customary skill and diligence that a reasonably competent attorney

  would use under like circumstances.”121 Absent the requisite showing, courts “will presume

  attorneys provide[d] effective assistance and will not second-guess strategic decisions or exploit

  the benefits of hindsight.”122

         When considering the prejudice prong the Court must decide whether Petitioner has

  established “a reasonable probability that but for counsel’s unprofessional errors, the result of the

  proceeding would have been different.”123 The Supreme Court has cautioned that “to set aside a

  conviction or sentence solely because the outcome could have been different but for counsel’s

  error may grant the defendant a windfall to which the law does not entitle him.”124 Thus,

  Petitioner must show some effect of the challenged conduct on the reliability of the trial process.

  Otherwise, the Sixth Amendment guarantee is generally not implicated.125 A petitioner’s failure

  to show prejudice is dispositive. In other words, absent a showing of prejudice a court need not

  address the reasonableness of counsel’s performance.126

         With this standard in mind, the Court turns to Petitioner’s contentions regarding how his

  counsel’s performance fell short of the minimal standard of representation guaranteed by the


         120
               Id. at 690.
         121
               Battle v. Delo, 19 F.3d 1547, 1554 (8th Cir. 1994).
         122
               Henderson v. Norris, 118 F.3d 1283, 1287 (8th Cir. 1997).
         123
               Strickland, 466 U.S. at 694.
         124
               Lockhart v. Fretwell, 506 U.S. 364, 369-70 (1993).
         125
               United States v. Cronic, 466 U.S. 648, 658 (1984).
         126
               United States v. Apfel, 97 F.3d 1074, 1076 (8th Cir. 1996).

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  Sixth Amendment. The Court has considered and rejected each and every allegation of

  ineffective assistance of counsel timely asserted by Petitioner on the merits, whether or not such

  allegation is discussed in detail herein.

           B.          Errors in Failing to Call Certain Witnesses

           Petitioner argues that his counsel erred in failing to call certain witnesses to testify at trial

  and failing to locate and interview certain witnesses. “The decision not to call a witness is a

  virtually unchallengeable decision of trial strategy.”127 However, counsel’s failure to interview a

  witness or to discover mitigating evidence “may be a basis for finding counsel ineffective within

  the meaning of the Sixth Amendment right to counsel.”128

           Even assuming that counsel’s failure to discover mitigating evidence or to present an

  exculpatory witness was constitutionally deficient, a petitioner still must “make a substantial

  showing that, but for counsel’s failure to interview [or to call] . . . the witness[ ] in question,

  there is a reasonable probability that the result of his trial would have been different.”129 To

  satisfy the prejudice prong, it is not enough to speculate as to what the witness might have said, if

  interviewed or called to the stand. Rather, a petitioner must present independent evidence, by

  affidavit or otherwise, as to what the witness would have said if he or she had been interviewed

  or called to testify.130 Absent any independent evidence, prejudice can not be found without




           127
                 United States v. Staples, 410 F.3d 484, 488 (8th Cir. 2005) (internal citations omitted).
           128
                 Kramer v. Kemna, 21 F.3d 305, 309 (8th Cir. 1994).
           129
                 Id.
           130
               See Sanders v. Trickey, 875 F.2d 205, 210 (8th Cir. 1989) (appellant who filed a § 2255 motion
  indicating that an uncalled witness “might” have testified appellant was innocent but produced no affidavit from the
  witness in question or any other independent support for his claim failed to show prejudice).

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  speculating that the outcome of the trial might have been different. Such speculation is “simply

  inadequate to ‘undermine confidence in the outcome.’”131

         Petitioner has provided no affidavits from the myriad of witnesses whom he claims

  should have been interviewed or called to testify. Such omission is arguably fatal to any finding

  of prejudice. Moreover, even accepting as true Petitioner’s description of the omitted testimony,

  the evidence in this case overwhelmingly supported the jury’s finding of guilt, and the Court can

  not find that the outcome would have been different if such persons had testified as Petitioner

  speculates.

         With these principles in mind, the Court considers Petitioner’s specific contentions.

                    1.       Kirby Kehoe

         Petitioner Lee argues that his counsel were ineffective for not calling Kirby as a witness.

  He argues that the examination of Kirby would have cast doubt on his Arizona alibi, the roles

  played by his sons (Chevie and Cheyne) in the murders, and his role in and knowledge of the

  insurance fraud perpetrated by the Muellers with regard to a faked burglary of their residence.

         The Government contends that after defense counsel was advised that the Government

  did not intend to call Kirby, defense attorneys Mark Hampton (representing Kehoe) and Jack

  Lassiter (representing Lee) conducted an extensive interview of Kirby in the presence of Kirby’s

  attorney. Both defense attorneys agreed that calling Kirby would be more detrimental than

  favorable to the defense. The Government has supported its response with an affidavit from Mr.

  Lassiter. In his affidavit, Mr. Lassiter attests that he and Mr. Hampton “were given adequate




         131
               Id. at 210 (quoting Strickland, 466 U.S. at 694).

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  time to interview Kirby Kehoe,” “questioned Mr. [Kirby] Kehoe extensively,” and “determined

  that Mr. [Kirby] Kehoe’s testimony would not be helpful to the defense case.”132

         Petitioner responds by stating that Kirby’s testimony would have emphasized the Kehoe

  family’s involvement and de-emphasized Lee’s role or involvement in any matter regarding the

  Muellers. He also argues that Mr. Lassiter’s affidavit omits important information, i.e., when the

  interview occurred (when in the Government’s case were defense counsel required to decide

  whether to call a witness out of order and what other trial responsibilities they had at that time);

  how much time was provided for the interview; and whether limitations were placed on the

  substance of the interview due to the presence of Kirby’s attorney.

         When trial counsel conducts an investigation and determines not to call a witness, trial

  counsel’s conduct does not violate either the “performance” or “prejudice” prongs.133 Petitioner

  attempts to distinguish Griffen by noting that in that case trial counsel provided sworn deposition

  testimony and the petitioner had received an evidentiary hearing. The Court is not persuaded by

  Petitioner’s argument. Trial counsel in this case clearly conducted an investigation and

  determined not to call Kirby as a witness. The Court concludes that Petitioner’s counsel’s

  decision was a legitimate trial strategy. Additionally, Petitioner has failed to establish Strickland

  prejudice based on the claimed error.

                    2.        George Eaton

         Petitioner contends that his trial counsel were ineffective for failing to call George Eaton

  as a witness. Petitioner states that in an interview by the press subsequent to the discovery of the

  bodies of the Mueller family, Eaton informed reporters that William Mueller expressed fear for



         132
               Affidavit of Jack Lassiter, Exh. D to Govt.’s Resp., at ¶ 1.
         133
               Griffin v. Delo, 33 F.3d 895, 901-02 (8th Cir. 1994).

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  his life two months before he vanished and reported a connection between William Mueller and

  Andy Strassmeir (who was connected to Timothy McVeigh and the Christian Identity community

  near Muldrow, Oklahoma). The Government contends that, even if true, the allegations prove

  nothing. Petitioner replies that William Mueller’s expressed fear of Michael Brescia, see below,

  and individuals in the Christian Identity movement provides circumstantial evidence of William

  Mueller’s state of mind.

         Assuming Eaton would testify as alleged, this claim fails to establish either deficient

  performance or resulting prejudice.

                 3.      Peter Langan and Michael Brescia

         Petitioner contends that his counsel were ineffective for failing to locate and interview

  Peter Langan and Michael Brescia. Petitioner states that Langan and Brescia were members of

  the Aryan Republican Army (“ARA”), which committed a series of bank robberies throughout

  the mid-west in the early to mid-1990s with the proceeds going to finance the aims of the ARA,

  including the overthrow of the government. He further states that Langan was prosecuted for his

  role in the bombings and is serving a life sentence in federal prison. Similarly, Brescia was

  prosecuted and convicted, and was serving a federal sentence throughout most of the period

  leading up to the trial in this case. Petitioner states that during an interview with Eugene Wirges,

  a witness for the defense, William Mueller expressed fear for his life from Strassmeir and

  Brescia. The Government contends that Lee does not explain how Langan or Brescia possessed

  any information relevant to any issue. Petitioner replies that William Mueller’s expressed fear of

  Brescia and individuals in the Christian Identity movement provides circumstantial evidence of

  William Mueller’s state of mind.




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         This claim fails both the “performance” and “prejudice” prongs for ineffective assistance

  of counsel.

                    4.        David Hill

         Petitioner contends that his trial counsel were ineffective for failing to investigate and call

  David Hill as a witness. Petitioner states that Hill could have testified that he saw Paul

  Humphrey and another man throwing something off of a bridge at the Illinois Bayou at about

  8:15 a.m. during the second week of January 1996.134

         The Government states that Lee’s trial counsel relied upon the reports of the investigator

  and co-counsel. In addition to the affidavit from Mr. Lassiter, the Government has submitted an

  affidavit from Mark Hampton, one of Kehoe’s trial counsel. Mr. Hampton attests that he was

  aware of the potential testimony of Hill and visited Hill twice, but determined that his testimony

  would not be helpful to the defense.135 Mr. Lassiter’s affidavit states that trial counsel were

  aware of Hill’s availability to testify, but determined, based upon Mr. Hampton’s and

  Investigator Eubanks’s interviews, that Hill was not a beneficial witness to the defense.136 Once

  again, the Government cites Griffin137 for the proposition that when trial counsel conducts an

  investigation and determines not to call a witness, such decision may not form the basis for a

  successful ineffective assistance claim.




         134
               The Court notes that Chevie Kehoe’s brief states that this occurred in early February 1996.
         135
               Affidavit of Mark Hampton, Exh. C to Govt.’s Resp., at ¶ 2.
         136
               Affidavit of Jack Lassiter, Exh. D to Govt.’s Resp., at ¶ 2.
         137
               33 F.3d at 901-02.

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           Petitioner replies by stating that the Government cites no authority that his trial counsel

  can defer their tactical decisions to an attorney representing a co-defendant.138 Petitioner further

  states that his counsel suggested throughout the trial, and argued to the jury, that Paul Humphrey

  was a substantial and alternative guilty party, and distinguishes Griffen by noting that there the

  petitioner had received an evidentiary hearing.

           The Court concludes that Petitioner’s counsel’s decision not to call Hill was a legitimate

  trial strategy and there is no indication that such testimony would have altered the outcome of the

  trial.

                   5.       Glen Hinson

           Petitioner argues that his trial counsel were ineffective for failing to call Glen Hinson as a

  witness. He states that Hinson would have presented evidence that after Paul Humphrey

  obtained the title to the Mueller vehicle, he was nervous and scared, and that Nancy Mueller had

  told Hinson that she was frightened of Humphrey. The Government contends that Lee fails to

  explain how this testimony could have benefitted him and, further, that Nancy Mueller’s

  statement would not be admissible. The Government points out that Humphrey testified

  extensively on direct examination by the defense, and the jury had the opportunity to consider the

  weight to give his testimony. Petitioner responds by stating that testimony regarding

  Humphrey’s disposition would have further corroborated the defense effort to shift blame to

  Humphrey. Petitioner further states that testimony about Nancy Mueller’s state of mind

  regarding Humphrey would be admissible pursuant to Fed. R. Evid. 803(3) and would further

  support the defense that Humphrey was involved in the Mueller killings.




           138
             In reviewing the record, it is clear that the defense attorneys for Kehoe and Lee worked together on
  common issues.

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         This claim fails both the “performance” and “prejudice” prongs for ineffective assistance

  of counsel. The Court notes that Humphrey was called to testify at trial by Petitioner.

  Petitioner’s trial counsel attempted, but failed, to establish a link between Humphrey and the

  death of the Muellers. Humphrey was questioned in detail about the circumstances under which

  he acquired the title to William Mueller’s vehicle and the fact that he attempted to have the title

  transferred to himself.

                 6.         Eldon King

         Petitioner asserts that his counsel were ineffective for failing to call Eldon King as a

  witness because he would have testified that Humphrey began acting strangely after the Muellers

  disappeared. He asserts that this evidence corroborates the defense effort to shift blame to

  Humphrey. The Government contends that the evidence would have established that Humphrey

  began acting strangely long before the Muellers disappeared, and Lee fails to explain how this

  evidence could have benefitted him.

         As noted above, Petitioner’s trial counsel attempted, but failed, to establish a link

  between Humphrey and the death of the Muellers. This claim fails both the “performance” and

  “prejudice” prongs for ineffective assistance of counsel.

                 7.         Maria Ahrens and Vernon Ahrens

         Petitioner contends that his counsel were ineffective for failing to call Maria and Vernon

  Ahrens as witnesses. He states that Maria Ahrens would have testified that she had seen the

  Muellers at her husband Vernon’s auto shop the Thursday after they were supposed to be

  missing. Such testimony would have been confirmed by Vernon Ahrens.

         The Government submits the affidavit of Agent Glen Jordan, which states that according

  to the discovery material provided to defense counsel, the Ahrens were interviewed on three


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  occasions.139 Although Maria Ahrens was not interviewed, she was present at an early interview.

  Agent Jordan’s affidavit makes it clear that after reviewing a calendar for January 1996, the

  Ahrens fixed the last day they saw the Muellers as either January 3rd or 4th, 1996.

         In his reply, Petitioner asserts that the facts in this case are analogous to those in Lord v.

  Wood.140 In Lord, the Court held that “counsel’s cursory investigation of the three possible alibi

  witnesses [who claimed to have seen the victim after petitioner was supposed to have killed her],

  and their subsequent failure to put them on the stand, constitute[d] deficient performance that

  was prejudicial to [the petitioner’s] defense.”141 Petitioner contends that the Ahrens were

  disinterested witnesses who would have corroborated the other witnesses who reported seeing the

  Muellers after the date of their alleged disappearance, including Janis Rowlands, Lucy Carr, Sue

  Sullivan, Ron Greer, and Mary Reid.

         However, Lord is distinguishable because in that case “the most important elements of

  the [witnesses’s] statements remained consistent in each interview with police and defense

  investigators during the four-month period following [the victim’s] disappearance and

  murder.”142 Also, in Lord, the court stated that the witnesses never expressed any significant

  doubt about the sighting, and “[t]o this day, none of the three has wavered from his belief that it

  was [the victim] whom they saw . . . .”143 Here, the Ahrens clearly retracted their statements that

  they had seen the Muellers after they were supposed to be missing. Petitioner’s claim fails both

  the “performance” and “prejudice” prongs for ineffective assistance of counsel.

         139
               Affidavit of Agent Jordan, Exh. A to Govt.’s Resp., at ¶ 2.
         140
               184 F.3d 1083 (9th Cir. 1999).
         141
               Id. at 1093.
         142
               Id. at 1093-94.
         143
               Id. at 1094.

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                    8.        Pam Wrappe

         Petitioner asserts that his counsel were ineffective for failing to call Pam Wrappe as a

  witness. He states that Wrappe, an additional Wal-mart employee, participated in discussions

  regarding the Muellers being in Wal-mart, and would have further corroborated the testimony of

  Susan Weaver and Betty Gray. Weaver and Gray both worked for Wal-Mart. Both were called

  in the defense case to offer testimony that they had seen William Mueller in Wal-Mart after the

  January 12th date so critical to the Government’s timeline.

         Betty Gray was the district manager for Wal-Mart’s shoe and jewelry division during the

  time in question. She knew William Mueller as a customer and as a contractor who performed

  electrical work for the store. Gray testified that she had a conversation with William Mueller

  about some electrical work on a remodeling project in the store during January of 1996. During

  direct, Gray testified that she originally told Investigator Tom Brown that this conversation

  occurred on January 17th or 18th, 1996, but on cross-examination she explained that at the time

  she spoke with Brown, she had not reviewed her records.144 After reviewing her records, which

  pinpointed the week during which the remodeling project at Wal-Mart had been completed, Gray

  indicated that conversation with William Mueller must have taken place between January 6th and

  12th, 1996.145 Thus, Gray’s testimony in fact supported the Government’s timeline.

         Susan Weaver worked in Wal-Mart’s food department during the time in question. She

  testified that she sold William Mueller a very large quantity of water by the gallon. She could

  not pinpoint the exact date that this occurred, but believed it to be “within a two month period of




         144
               Tr. 5823-26.
         145
               Tr. 5825-26.

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  time” that an article about the disappearance of the Muellers appeared in the local newspaper.146

  A receipt for a large water purchase on January 22, 1996, corroborated Weaver’s testimony.147

         Petitioner argues that Wrappe’s testimony became more important because of the

  vacillation of Weaver and Gray during cross-examination. Petitioner’s counsel spent a

  considerable amount of trial time attempting to prove that the Muellers were alive after the

  January 12 date so critical to the Government’s theory. None of the testimony established the

  fact conclusively, however, and there was also considerable evidence to suggest that the Muellers

  were not seen or heard from after January 12th. In order to return a guilty verdict, the jury had to

  reject Petitioner’s theory that the Meullers were alive after January 12th. Petitioner has failed to

  specifically set forth the testimony Wrappe would have provided. The Court can not find that if

  Wrappe had presented her unspecified testimony to corroborate that of Weaver and Gray that the

  outcome would have been different. Nor can the Court conclude that Petitioner’s counsel was

  ineffective for failing to offer Wrappe’s testimony.

         Petitioner’s claim fails both the “performance” and “prejudice” prongs for ineffective

  assistance of counsel.

                    9.        David and Denise Hollabaugh

         Petitioner asserts that his counsel were ineffective for failing to call David and Denise

  Hollabaugh as witnesses. He asserts that Nancy Mueller was treated at the Hollabaughs’ clinic

  for stomach problems in early January, and that the Hollabaughs would have testified that Nancy

  Mueller told them that her family was planning on leaving town.




         146
               Tr. 5832-33.
         147
               Tr. 6364.

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           The Government contends that the Muellers “left town” many weekends to attend gun

  shows. The Government further contends that even if Nancy Mueller’s statement was construed

  to mean that her family was leaving town for an extended period, Lee fails to explain how the

  testimony would be helpful to his case.

           Petitioner replies by stating that Nancy Mueller’s statement corroborates the defense

  theory that the Muellers were in fear of individuals and intended to “get off the grid.”

           Once again, Petitioner fails to provide any evidence that the Hollabaughs would have

  testified as alleged. Even if there were evidence presented that the Muellers intended to “get off

  the grid,” such evidence would fall far short of overcoming the overwhelming evidence of

  Petitioner’s guilt. Petitioner’s claim fails both the “performance” and “prejudice” prongs for

  ineffective assistance of counsel.

                  10.     Earlene Branch

           Petitioner contends that his counsel were ineffective for failing to call Earlene Branch,

  Nancy Mueller’s mother, as a witness. He asserts that Branch would have testified that she saw

  Nancy Mueller a few times at Wal-mart in early January and described her as nervous, upset, and

  not very talkative. He also states that Branch could have testified that while at the home of

  Sylvia and David Mason in February 1996, she believed she heard William Mueller’s distinctive

  cough.

           The Government states that it sees no possible benefit that could have accrued to the

  defense by calling Branch to testify as to Nancy Mueller’s demeanor during a casual meeting.

  Also, the Government states that it is not aware of any testimony regarding hearing William

  Mueller’s “distinctive cough,” but states that such testimony would be easily discredited.

           Petitioner rebuts that Nancy Mueller’s demeanor demonstrates her fear and implicates


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  Humphrey and/or others from Oklahoma as a known threat, as opposed to Lee. Petitioner also

  contends that Branch’s testimony that she heard her son-in-law’s cough three weeks after he was

  alleged to be dead would not be easily discredited.

         The testimony, if given as alleged, is not sufficiently specific that it would have undercut

  the ample evidence of Petitioner’s guilt. Petitioner does not assert that Branch had any

  knowledge or even suspicion of a known threat. The Court agrees that any testimony regarding a

  “distinctive cough” would have been easily discredited. Petitioner’s argument fails both the

  “performance” and “prejudice” prongs.

                    11.      Faron Lovelace

         Petitioner contends that his counsel were ineffective for failing to call Faron Lovelace as

  a witness. He states that Lovelace would have testified that he had never heard of the “Aryan

  People’s Republic,” “Aryan People’s Resistance,” “Aryan People’s Revolution,” or any

  organization with the initials “APR.” Petitioner also states that Lovelace claimed at the time of

  trial to be in possession of additional exculpatory evidence.

         In response, the Government submits the affidavit of Mr. Hampton, which states:

         Trial counsel had numerous interviews with Faron Lovelace. In those interviews
         Lovelace asserted that he could prove persons other than our client, Chevie Kehoe
         and co-defendant Danny Lee had committed the murders of the Mueller family.
         However, Mr. Lovelace refused to state what this testimony would be. Mr.
         Lovelace also advised Judge Eisele that he could identify the true murders. [sic]
         This resulted in an in camera meeting with Judge Eisele where trial counsel was
         advised of Mr. Lovelace’s assertions. The decision was made not to call Mr.
         Lovelace as trial counsel had no knowledge regarding what Mr. Lovelace’s
         ultimate testimony would be. It also was obvious that Mr. Lovelace was not
         mentally stable. Counsel felt that presenting Lovelace as a defense witness would
         possibly compromise the defenses being permitted. The matter was discussed
         with defendant Kehoe.148



         148
               Affidavit of Mark Hampton, Exh. C to Govt.’s Resp., at ¶ 1.

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  In his affidavit, Mr. Lassiter states that although defense counsel considered calling Lovelace as a

  witness, he was too unstable and would not state what evidence he had.149 The Government

  argues that while defense counsel knew of the witness and considered calling him, they wisely

  decided against doing so due to Lovelace’s mental instability.

          Petitioner argues that the affidavits of defense counsel provide no insight as to whether

  they considered calling Lovelace on the limited issue of the existence of the APR.

          Petitioner’s counsel’s decision not to call Lovelace was clearly a legitimate and prudent

  trial strategy. Additionally, Petitioner’s argument fails because the limited testimony proposed, if

  given, would not have altered the result in this case.

                     15.       Norda Lewis

          Petitioner asserts that his trial counsel were ineffective in failing to call Norda Lewis,

  Faron Lovelace’s wife, as a witness. Petitioner asserts that Lewis would have testified that she

  had never heard of the “Aryan People’s Republic,” “Aryan People’s Resistance,” “Aryan

  People’s Revolution,” or any organization with the initials “APR.” The Government states that it

  has no indication that Lewis would have testified as alleged, and given the fact that she was

  rarely near Kehoe, the testimony would have been useless.

          Petitioner’s counsel’s decision not to call Lewis was clearly a legitimate trial strategy.

  Additionally, Petitioner’s argument fails because the limited testimony proposed, if given, would

  not have altered the result in this case.

                     16.       Angela Holderman

          Petitioner asserts that his trial counsel were ineffective in failing to call Angela

  Holderman as a witness. He contends that Holderman would have testified that she called the


          149
                Affidavit of Jack Lassiter, Exh. D to Govt.’s Resp., at ¶ 3.

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  Mueller residence at 8:00 a.m. on January 11, 1996, and a man identifying himself only as

  “Darryl” answered the phone. Petitioner asserts that this would establish that there was an

  unknown individual, and potentially others, in the Mueller household immediately before

  (according to the Government’s theory) the Muellers were killed. Petitioner contends that an

  individual’s presence at a home where the residents disappear and later turn up dead is relevant,

  particularly when the name provided a witness does not fit the Government’s theory of the case.

         The Government contends, and the Court agrees, that even if available, this evidence

  would not have changed the outcome of the trial.

         C.         Inadequate Cross-Examination of Witnesses

         Petitioner claims that his trial counsel were ineffective in their cross-examinations of

  several Government witnesses either because they failed to properly impeach the witness or they

  failed to elicit testimony favorable to Petitioner during cross-examination.

         To succeed on this challenge, Petitioner must show his counsel’s cross-examination of

  these key witnesses fell below professional standards of competence and that such deficient

  performance prejudiced his defense.150 As the Eighth Circuit has noted:

         The cross-examination of a witness is a delicate task; what works for one lawyer
         may not be successful for another. Courts generally entrust cross-examination
         techniques, like other matters of trial strategy, to the professional discretion of
         counsel. We have recently observed that there are a few [sic], if any, cross-
         examinations that could not be improved upon. If that were the standard of
         constitutional effectiveness, few would be the counsel whose performance would
         past [sic] muster.151

  With this deferential standard in mind, the Court considers Petitioner’s claim that his counsel’s

  cross-examinations of certain witnesses were constitutionally deficient.



         150
               Strickland, 466 U.S. at 687.
         151
               Henderson, 118 F.3d at 1287 (omitting citations and internal quotations).

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                     1.      Gloria Kehoe

          Gloria Kehoe testified for several hours over the course of two days.152 The Court has

  reviewed the entire transcript of Gloria’s testimony, both on direct and cross. The Court

  concludes that counsel’s cross-examination of Gloria was well within the scope of a

  constitutionally effective cross-examination.

          Petitioner first argues that his trial counsel were ineffective for not calling Gloria as a

  witness in the defense case because she would have been subject to examination regarding her

  complicity in a plan, hatched by Kirby, to have Chevie kill one of his younger brothers to punish

  him for abusing one of Chevie’s children. Chevie Kehoe refused to kill his brother, but instead

  gave him a lashing. The Government contends that Petitioner fails to explain how testimony that

  a co-defendant’s father hatched a plan to have one of his sons kill another would have aided his

  defense. Petitioner responds by stating that this testimony would demonstrate Cheyne’s and

  Gloria’s willingness to sacrifice one of their own regardless of his guilt.

          The Court addressed this issue in two bench conferences while Gloria was testifying in

  the Government’s case-in-chief.153 The parties disputed the relevance of this line of questioning.

  The first bench conference was conducted at the conclusion of Gloria’s testimony on April 7,

  1999. The second bench conference was conducted the next morning before Gloria resumed her

  testimony. After initially ruling that the evidence was not proper cross-examination because it

  did not impeach Gloria, the Court subsequently altered its ruling and permitted defense counsel

  to ask the following three questions of Gloria:

          (1) Did she ever hear Kirby order Chevie Kehoe to kill anyone?;


          152
                Tr. 4948-5209.
          153
             Both bench conferences were transcribed and filed under seal. See Docket No. 692 (April 8, 1999) and
  Docket No. 693 (April 7, 1999).

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           (2) (Assuming he did), to your knowledge, did Chevie Kehoe kill that person?; and

           (3) Did she take any action to stop her husband?154

  While the Court limited the testimony on cross-examination, it pointed out that the defense was

  free to revisit the issue during its case-in-chief.

           Petitioner’s counsel asked Gloria the above questions during cross-examination. She

  acknowledged that Kirby had ordered Chevie to kill someone, but that Chevie refused to do so.155

  Defense counsel did not, however, call Gloria Kehoe during their case-in-chief to attempt to

  elaborate on or to further explain this incident.

           The defense elicited this evidence, to the extent that the Court permitted it, during cross-

  examination. The Court only can assume that the decision not to elaborate on the issue further

  during the defense case was a tactical one. To question this decision would second guess defense

  counsel’s strategy, which the law does not permit. While Petitioner argues that such evidence

  reveals Cheyne’s and Gloria’s willingness to sacrifice one of their own regardless of his guilt, an

  equally compelling argument may be made to the contrary, as no party appears to argue that

  Chevie’s younger brother was innocent of abusing one of Chevie’s children. Thus, a jury hearing

  such evidence might well conclude that Gloria was most concerned with having the guilty answer

  for their wrongful actions, thereby enhancing her credibility. There simply is no basis for

  concluding that defense counsel were ineffective for not presenting more of this evidence during

  the trial.

           Second, Petitioner argues that his trial counsel were ineffective in failing to

  cross-examine Gloria on a statement she made about Kehoe and Lee remaining in Arkansas after



           154
                 Doc. No. 692, at pp. 13-14.
           155
                 Tr. 5205-06.

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  the Muellers were murdered. Gloria allegedly told officers that Kehoe and Lee, “waited around a

  few days” after the Muellers were murdered. He asserts that such evidence would contradict the

  evidence that Lee and Kehoe were in Spokane, Washington no later than January 14th.

  Petitioner argues that Gloria’s statement to law officers destroys the Government’s time line, but

  that trial counsel failed to bring it out on cross-examination.

          The Government initially contended that Gloria made no such statement. Rather, Lee and

  Kehoe told Gloria that after the Spokane City Hall bombing, they parked on a hill above City

  Hall, watched the explosion, and were then disappointed because the police did not respond

  immediately.

          To determine what Gloria actually said, the Court ordered Kehoe and Lee to produce a

  transcript of the interview.156 The transcript reads in pertinent part:

          AD:157 Did he tell you how long they were in, uh, close to the MUELLERS house
          before they actually took ‘em down? Were they there for a day or two? Did they
          scope things out?

          GK: No. No, from what I understood he said that uh, the job was done and they
          took ‘em and then they rode around in the Wagoneer to, for the, to see what came
          in the paper. See if the MUELLERS would come up missing or . . . In other
          words how the media would handle it.

          AD: They rode around in the Wagoneer?

          GK: That’s why I’m, that’s what I believing he said.

          AD: So they stayed in that area for a while?

          GK: I’m not sure if it was that area or the outside of that area. I can’t be
          quoted on that.




          156
                Order dated May 15, 2008, Doc. No. 1154.
          157
             Based upon the Government’s response, it appears that “AD” stands for “Aaron Duvall,” a Deputy
  Sheriff. “GK” stands for “Gloria Kehoe.” See Doc. No. 1160, p. 1 n.1.

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          AD: Did he tell you where he and DANNY went right after they disposed of the
          bodies? Where did they go?

          GK: You know, I was in shock by then.

          AD: Mm mh (affirmative).

          GK: I’ll be very honest with you. I believe they just headed straight back to
          Spokane. I just remember him saying that they hung around for a few days. That
          could have been at DANNY’S mother’s house and then they came back to
          Spokane.158

  The Government replies that Gloria was momentarily confused about the Spokane City Hall

  bombing and the Mueller murders, and that the follow-up questions establish that she was aware

  of this confusion. Additionally, she made it clear that she was unsure about Kehoe’s remarks,

  and ultimately stated that she believed “they just headed straight back to Spokane.” Thus, it

  appears to the Court that even if trial counsel had questioned Gloria about the statement, she

  would have been easily rehabilitated by the Government.

          Finally, even if it could be said that counsel’s cross-examination of Gloria was

  constitutionally deficient, Petitioner suffered no prejudice because it would not have altered the

  result. Defense counsel effectively used what they had to work with in an effort to create

  reasonable doubt. They were, of course, limited by the facts. Admittedly, Gloria was an

  important Government witness. She was a difficult witness to cross-examine because of the fact

  that she testified convincingly, consistently with her prior statements, and against her own son.

                     2.       Kelly Kramer

          Petitioner asserts that his trial counsel were ineffective for failing to adequately cross-

  examine Kelly Kramer, Kehoe’s “second wife.”159 Petitioner asserts that his counsel should have


          158
                Doc. No. 1158-1, at pp. 66-67.
          159
             While they were not formally married, trial testimony indicated that Chevie considered Kelly his second
  wife. Kelly left Chevie after a brief period.

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  elicited testimony from Kramer that Chevie never spoke of setting up anything like the “Aryan

  People’s Republic,” “Aryan People’s Resistance,” “Aryan People’s Revolution,” or any

  organization with the initials “APR.”

         The Government states there is no factual basis for concluding Kramer, if asked, would

  have so testified. The Court agrees. Additionally, if she had so testified, it would not have

  changed the outcome of the trial.

                    3.        Jeff Brown

         Petitioner asserts that his trial counsel were ineffective in failing to adequately cross-

  examine Jeff Brown. Petitioner asserts that although called as a Government witness, if asked,

  Brown would have testified that he never heard of the “Aryan People’s Republic,” “Aryan

  People’s Resistance,” “Aryan People’s Revolution,” or any organization with the initials “APR.”

  Petitioner also asserts that Brown would have testified that he believed Kehoe had arrived back at

  the Shadows Motel in Spokane late in the day on January 12, 1996, or shortly after midnight on

  January 13, 1996.

         The Government states that it has no factual basis to support the contention that Brown

  would have testified as alleged with respect to either subject. As to Kehoe’s arrival at the

  Shadows Motel, the Government submits the affidavit of Agent Jordan, which states that there is

  no “indication in any of the numerous interviews of Mr. Brown which indicate that he thought

  Chevie Kehoe was at the Shadows Motel on either January 12, or January 13, 1996.”160

         Petitioner states that Brown’s potential testimony would corroborate the trial testimony of

  Vada Campbell that Lee was at the Shadows Motel on January 13th.161 The Court notes that



         160
               Affidavit of Agent Jordan, Exh. A to Govt.’s Resp., at ¶ 3.
         161
               Tr. 5953-54.

                                                          - 39 -
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  Vada Campbell testified that she saw Lee at Sean Haines’ “apartment on Augusta” on January

  13th around 8:00 p.m.162 Also, Petitioner states that Agent Jordan’s affidavit refers to Kehoe’s

  presence only, not Lee’s, and the Government does not indicate whether Brown was specifically

  asked about these two dates in his interviews. Finally, unless the witness interviews are all

  signed, Petitioner asserts that it is improper to rely upon them, especially absent some adversarial

  process.

         The Court finds that Petitioner has failed to establish that Brown would have testified as

  Petitioner argues. Additionally, and alternatively, if he had so testified, it would not have

  changed the outcome of the trial.

                     4.      Jack Price

         Petitioner asserts that his counsel were ineffective in failing to adequately cross-examine

  Jack Price. He states that although called as a Government witness, defense counsel failed to

  elicit an accurate recounting of Price’s criminal history, and the Government failed to correct

  Price’s false testimony. Price testified that “all my offenses consisted of fraud, bad checks, and

  theft of property, sir.” Petitioner asserts that this was not accurate because Price also had prior

  convictions for armed robbery and assault with a firearm.

         In response, the Government submits the affidavit of Agent Jordan, which states that

  although Price was once charged with armed robbery and assault with a firearm, the NCIC record

  does not indicate that he was convicted of either crime.163 In reply, Petitioner argues that

  although Petitioner may have mistakenly referred to “convictions,” Price’s testimony was still

  inaccurate because he had other “offenses” of armed robbery and assault.



         162
               Id.
         163
               Affidavit of Agent Jordan, Exh. A to Govt.’s Resp., at ¶ 4.

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         The record disproves Petitioner’s allegation. Price testified “all my offenses consisted of

  fraud, bad checks, and theft of property, sir” in response to the question, “what types of offenses

  have you . . . pled guilty through the years?”164 Petitioner offers no evidence that Price was

  convicted of armed robbery and assault with a firearm.

                     5.      The Wankers

         Petitioner asserts that his trial counsel were ineffective for failing to cross-examine the

  Wankers about being compensated by the Government. Petitioner states that throughout trial, the

  defense asserted that the Government’s important witnesses “had been bought and paid for,”

  making their credibility suspect. Additionally, Petitioner argues that in their rebuttal summation,

  the Government emphasized to the jury that the Wankers had not received any compensation,

  when in fact they received an unknown amount of money so that they could move out of the area.

  Petitioner also argues that defense counsel did not cross-examine the Wankers about their

  interviews with the media, but should have done so.

         In response, the Government submits the affidavit of Agent Jordan, which states that Lee

  made statements to the Wankers implicating himself in a murder “down south” with the bodies

  being disposed “in a swamp.”165 The Wankers were identified as potential witnesses in the

  Spokane media, and agents became concerned because the criminal organization responsible for

  the Mueller murders, the Spokane City Hall bombing, and the Collville, Washington kidnapings

  had many associates in Washington and Idaho.166 Agent Jordan further states that the Wankers

  received four $50 subsistence payments, which the Government equates to “meal money,” for



         164
               Tr. 4108.
         165
               Affidavit of Agent Jordan, Exh. A to Govt.’s Resp., at ¶ 1.
         166
               Id.

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  four days during the time they moved from one location to another for security reasons.167

  Petitioner contends that there is no mention of the need for security or danger to the Wankers on

  the paperwork for the subsistence pay.

          As for the Wankers’ media interviews, the Government argues that examination by

  defense counsel would have only established and unnecessarily emphasized that the case was

  significant in Spokane and that the Wankers were legitimately concerned for their safety. Lee’s

  defense would not have been helped, the Government contends, by pointing out that Lee and his

  associates are considered so dangerous that witnesses against them must hide for protection. The

  Government also notes that Lee’s argument is irreconcilable with his argument that the

  Government improperly bolstered Cheyne Kehoe’s testimony by telling the jury that he was

  threatened by an Aryan prison gang member while incarcerated. Petitioner replies by stating that

  the Government presented the Wankers as “disinterested witnesses,” not informants at trial.

          On direct appeal, in considering whether the district court erred in ruling that the

  prosecution did not have to provide defense counsel the names of witnesses three days before

  trial, the Eighth Circuit stated:

          The decision of Lee’s counsel not to impeach these witnesses could well have
          been strategic, however, for there was reason not to bring up the Wankers’
          relocation. The government says that they were moved because of previous
          retaliation against witnesses by white supremacist groups. Even though it has not
          said that it facilitated the Wankers’ relocation due to a fear of retaliation by Lee,
          his counsel may have wanted to keep any evidence of this type from the jury. Lee
          has not shown plain error.168

  The Court concludes that Petitioner’s counsel’s decision not to cross-examine the Wankers on

  the fact that they had received the small amount of “meal money” from the Government or on the


          167
                Id.


          168
                Lee, 374 F.3d at 652.

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  issue of the Wankers’ media interviews was a legitimate trial strategy. Further, even if such

  strategy was defective, Petitioner can not demonstrate any resulting prejudice.

         D.         Error in Failing to Object to Government’s Pre-trial Motion to Bar Lee’s
                    Access to Discovery

         Petitioner argues that his trial counsel were ineffective for failing to object to the

  Government’s motion, made prior to trial, to bar Lee’s access to early disclosed Jencks material

  for the protection of witnesses. The Court granted the motion. While the issue was challenged

  on appeal, it was reviewed and rejected under a stringent plain-error standard. Had counsel

  preserved the issue for appeal, Petitioner contends, it would have been reviewed under a more

  relaxed appellate standard and his conviction would have been vacated. The Court disagrees.

          Prior to trial, the Government learned that Lee had forwarded copies of Jencks material

  to others along with letters suggesting an intent to bring harm to potential witnesses against him.

  The Government moved to deny Lee direct access to the written materials. Initially, the

  Government filed the motion ex parte, but the Court did not rule on the motion without

  knowledge and input from Petitioner’s counsel. The Court held an emergency telephone

  conference to address the serious safety concerns posed by Lee’s alleged conduct. During the

  conference, Karen Coleman represented Lee. She did so only because both Mr. Lassiter and

  Cathy Compton, Lee’s other attorney, were out of state at the time. Although Ms. Coleman

  agreed to the Government’s proposal to remedy the situation, she did so only after discussing the

  issue with Mr. Lassiter, who agreed with the Government’s proposed remedy.169

         The Court rejects Petitioner’s suggestion, raised for the first time in its reply brief, that

  Karen Coleman had a conflict of interest that precluded her from effectively representing Lee on



         169
               Transcript, Telephone Conference, November 19, 1998, Doc. No. 1012 (Under Seal).

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  this issue. First, Ms. Coleman was acting with the knowledge and at the direction of Mr.

  Lassiter. Second, the Court has considered and rejected Petitioner’s additional argument that his

  entire defense was prejudiced by Ms. Coleman’s involvement in the case. The Court’s

  discussion and ruling on the conflict of interest issue may be found below in Section H.

         Significantly, Lee and his counsel have never disputed – either prior to trial or now – that

  Lee in fact used the Jencks materials he obtained from his counsel in the threatening manner

  alleged by the Government. Thus, it is unclear what grounds Petitioner’s trial counsel could have

  asserted if they had objected. In the absence of something to contradict the strong showing made

  by the Government, this Court’s ruling would have been the same. And, as the Government

  points out, had trial counsel objected, the Government simply would have stopped providing

  Jencks material so far in advance. The Court concludes that defense counsels’ failure to object to

  the Government’s motion to bar Lee’s access to certain discovery materials was not

  constitutionally deficient.

         Further, the Court rejects Petitioner’s contention that the Eighth Circuit would have

  reversed his conviction on appeal under a less deferential standard of review. In considering this

  issue on appeal, the Eighth Circuit stated:

         Here, the district court found good cause for limiting Lee’s access to discovery
         materials based on the government’s argument that Lee was a danger to potential
         witnesses. Its order was not a blanket proscription against Lee communicating
         with counsel, however. The order prevented Lee from accessing discovery
         documents and the names of witnesses, but it permitted him to be informed about
         all other matters and to discuss them with counsel. It did not violate § 3432,
         which only requires disclosure of witnesses and juror names to the defense but not
         to the defendant personally. The district court’s order limiting discovery was not
         plain error because is did not impermissibly limit Lee’s communications with his
         attorneys.170



         170
               Lee, 374 F.3d at 652.

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  “The standard for prejudice under Strickland is virtually identical to the showing required to

  establish that a defendant’s substantial rights were affected under plain error analysis.”171 The

  Court concludes that Petitioner has failed to demonstrate Strickland prejudice.

           E.         Failure to Object to the Court’s Order Regarding Witness Lists

           Petitioner asserts that defense counsel were ineffective for failing to object to the Court’s

  Order excusing the Government from disclosing the names of eight witnesses three days before

  the trial started, which is normally required by 18 U.S.C. § 3432. The Court did so after

  concluding that identifying these witnesses so far in advance was likely to jeopardize the life or

  safety of such witnesses. In its ruling, this Court applied the statutory exception for pre-trial

  disclosure of witnesses.172

           Petitioner presents neither argument nor evidence to rebut the Government’s contention

  that Lee posed a danger to potential witnesses. The Court can only conclude that no such

  evidence exists. Had Petitioner’s counsel objected at trial without any evidence or argument to

  counter that of the Government, the Court would have entered the same Order and followed the

  same procedure at trial for the identification of witnesses. Trial counsel’s failure to object to this

  Court’s rulings regarding the disclosure of prosecution witnesses was not constitutionally

  deficient.

           The Court also rejects Petitioner’s contention that the Eighth Circuit would have reversed

  the conviction if it had applied an abuse of discretion or clearly erroneous standard of review




           171
                 Becht v. United States, 403 F.3d 541, 549 (8th Cir. 2005).
           172
                  Section 3432 provides for the disclosure of witnesses at least three days before trial, “except that such
  list . . . need not be furnished if the court finds by a preponderance of the evidence that providing the list may
  jeopardize the life or safety of any person.”

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  rather than a plain error standard of review.173 “The standard for prejudice under Strickland is

  virtually identical to the showing required to establish that a defendant’s substantial rights were

  affected under plain error analysis.”174 Just as the Eighth Circuit rejected a similar argument on

  plain error, this Court rejects Petitioner’s contention that he suffered Strickland prejudice in

  connection with this issue.

          F.         Failure to Request and Conduct mtDNA Testing

          Petitioner argues that despite the availability of Mitochondrial DNA (“mtDNA”) analysis

  at the time of trial, his counsel did not seek authorization for the funding needed to conduct such

  analysis of the hair found in the FBI “raid cap” and linked to the Mueller murders, which was

  determined to be microscopically similar to Lee’s hair. Petitioner argues that mtDNA testing

  could have provided an absolute, science-based exclusion of Lee as the source of the hair, which

  would have undercut a key aspect of the Government’s proof. Therefore, Petitioner argues that

  his counsel were ineffective for failing to request and conduct the mtDNA testing.

          The Government submits Agent Jordan’s affidavit, which states that the Government

  considered DNA testing of the hair, but investigators were advised that DNA testing was not

  possible on that hair.175 Petitioner replies by noting that there is nothing in the record that

  suggests Lee’s trial counsel deferred their decision-making process to Agent Jordan.

          After submission of the initial round of briefs, Petitioner obtained mtDNA testing of the

  hair found in the FBI “raid cap.” The Analytical Report concluded that “[t]he mitochondrial

  DNA sequence data from the hair from the Baseball Cap (item 2) differs from that of the hair


          173
              See Lee, 374 F.3d at 651-52 (rejecting argument that Lee’s defense was prejudiced by the disclosure of
  Dee and James Wanker less than 48 hours before their appearance).
          174
                Becht, 403 F.3d at 549.
          175
                Affidavit of Agent Jordan, Exh. A to Govt.’s Resp., at ¶ 5.

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  from Danny [Lee]176 at a number of base positions and is therefore excluded as originating from

  the same person or maternal lineage.”177

           Petitioner now argues that evidence excluding him as the source of the hair is significant

  and material, especially considering the Government’s theory that the raid cap in which the hair

  was found was used in the fake FBI raid involving the Muellers and given the Government’s

  consistent reference to “Danny Lee’s hair” throughout the trial. During trial, Chantelle Bequette,

  a criminalist at the Arkansas State Crime Laboratory, testified that “[t]he hair from the FBI cap

  was microscopically similar to the known hair from Danny Lee.”178 She explained that

  “microscopically similar” “means that the range of characteristics that were observed in the

  known hair and questioned hair were similar.”179 During trial, Bequette clarified that “finding

  that [the hairs] are similar doesn’t necessarily point to a positive identification.”180 Additionally,

  on cross-examination, counsel for Petitioner noted, and Bequette agreed, that “the hairs do not

  possess enough individual characteristics to be positively identified as having originated from a

  particular person.”181

           Petitioner argues that counsel for the Government overstated the significance of the hair

  in its closing argument with the following comments:

           Danny Lee’s hair. Mr. Lassiter got up here and spent a lot of time talking about
           Danny Lee’s hair in the raid cap. Remember when they found this stuff they had


           176
                 The Analytical Report actually states that the control hair is from “Danny Graham,” which is an alias for
  Petitioner.
           177
                 Analytical Report, Attachment A to Supplemental Submission (Doc. No. 1138), at p. 4.
           178
                 Tr. 4722.
           179
                 Tr. 4722-23.
           180
                 Tr. 4724.
           181
                 Id.

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          two sets of raid equipment? One of them has a cap and they found a hair similar
          to Danny Lee’s hair in the raid cap. But remember Chantell [Bequette]’s
          testimony? The reason they have to say similar and can’t do a match is there are a
          couple of probabilities. Number one, people like me with white hair, they don’t
          have enough pigment and characteristics. They are hard to match. But when you
          get past those people, as you do with Danny Lee, there might be another one out
          there. Remember, if she took a hair from everybody off the jury and everybody in
          the courtroom if you eliminated the white-haired people she would be able to
          match up because we would have had controlled conditions. That was her
          testimony. But she recognizes that there might be out there somewhere another
          hair that could match. We recognize that, but here, I submit to you, the evidence
          establishes that that was Danny Lee’s hair. Not just a hair tested itself but the
          other proof that is associated with it are associated with him.182

          In response, the Government states that it made clear, through its arguments and

  Bequette’s testimony, that the only proof it was presenting was that the hair was microscopically

  similar to that of Lee. Furthermore, the Government states that the affidavits of ATF agent

  Jordan and Bequette (now Taylor) show that investigators made inquiry to determine whether

  DNA testing of the hair could be conducted, but were advised that it was not possible.183 Agents

  were advised that no nuclear DNA testing was available as the hair had no root.184 As to mtDNA

  testing, agents were advised that two centimeters of hair was required for the test.185 Additional

  affidavits, as well as a copy of the FBI protocol in place in 1998, confirm that in order to obtain

  testing of a single hair in 1998, protocol required a 2 centimeter section of hair.186 The Analytical




          182
                Tr. 7000-01.
          183
              Affidavit of Agent Jordan, Exh. A to Govt.’s Supplement to Its Supplemental Memorandum in
  Opposition to Motion (Doc. No. 1145), at ¶ 2; Affidavit of Chantelle Bequette, Exh. B to Govt.’s Supplemental
  Memorandum in Opposition to Motion (hereinafter “Govt.’s Supp.”) (Doc. No. 1144), at ¶ 3.
          184
                Id.
          185
                Id.
          186
               FBI Mitochondrial DNA Sequencing Protocol, Exh. C to Govt.’s Supp. (Doc. No. 1144, at 3.1.2.3);
  Affidavit of Dr. Melton, Exh. D to Govt.’s Supp. (Doc. No. 1144), at ¶ 4; Affidavit of Meghan Clement, Exh. E to
  Govt.’s Supp. (Doc. No. 1144), at ¶ 3.

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  Report submitted by Lee, and available at the time of trial, shows that the hair was approximately

  1.1 centimeters in length.

          Petitioner stresses that it is undisputed that mtDNA analysis was available at the time of

  the trial, that it could have been done prior to trial, and that such testing would have excluded

  Lee as the source of the hair. As set forth the affidavits of Brian Wraxall and Meghan

  Clement,187 it is not the case that mtDNA analysis was unavailable on samples less than 2

  centimeters in length, but rather lab protocols only permitted testing on such samples if the lab

  received permission to consume the sample. Thus, Petitioner argues that the protocols in place

  did not reflect a limitation on available technology, but rather, a safeguard to protect the sample

  from being exhausted.

          The Court accepts that in 1998, mtDNA testing of a single hair required a 2 centimeter

  section of hair, unless the submitting agency authorized consumption of the entire sample. It is

  unclear in this case whether the parties could have agreed to permit the testing under these

  circumstances. Whether or not Petitioner’s counsel can be faulted for failing to obtain a mtDNA

  test of the 1.1 centimeter hair in question, the Court finds that Petitioner has failed to

  demonstrate prejudice. The evidence in this case overwhelmingly supported the jury’s finding of

  guilt. The Court can not find that the outcome would have been different if Petitioner’s counsel

  would have obtained mtDNA testing and disproved Petitioner as the source of the hair found in

  the raid cap. For this reason, the Court rejects this claim.




          187
               Affidavit of Brian Wraxall, Exh. A to Petitioner’s Supplemental Reply (Docket No. 1151), at ¶ 8-9;
  Affidavit of Meghan Clement, Exh. E to Govt.’s Supp. (Docket No. 1144), at ¶ 4.

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         G.         Adoption of a Jury-selection Strategy that Emphasized Seating
                    African-Americans

         Petitioner argues that his trial counsel were ineffective in adopting a jury-selection

  strategy that emphasized seating as many African-American jurors as possible. He states that the

  offensive and abhorrent white-supremacist views held by both Kehoe and Lee, which were part

  of the trial evidence, were likely to be particularly offensive to non-white people since they were

  the targets of race-based hatred. Lee had visible Nazi-related tattoos on both sides of his neck,

  and photographs of tattoos not otherwise visible were presented to the jury through testimony and

  photograph exhibits. Petitioner contends that the strategy emphasizing the selection of African-

  American jurors was unreasonable and prejudicial since the final jury was made up of a majority

  of African-Americans.188

         In response, the Government submits the affidavit of Mr. Hampton, which states:

         Selecting a jury with as many black jurors as possible was a strategic decision
         made by defense counsel. Jury consultant Bob Berry concurred in the strategy.
         Defense counsel felt this strategy was reasonable because (1) blacks are more
         likely than whites to discredit government testimony, (2) research indicates that
         blacks are generally less likely to give the death penalty, and (3) it was felt that
         blacks were less likely to give the death penalty than whites in this particular
         case.189

         Mr. Hampton represented Kehoe, not Lee. Petitioner points out that the affidavit

  submitted by one of his lawyers, Mr. Lassiter, makes no mention of jury selection strategy and

  fails to indicate that Lee’s counsel adopted the strategy used by Kehoe’s counsel. It would have

  been professionally deficient to do so, Petitioner contends, given his racially insensitive and

  inflammatory tattoos which were visible to the jury daily. It is unclear on this record that

  Petitioner’s counsel joined in this strategy, but it appears highly unlikely that counsel for Kehoe

         188
               The jury’s racial composition was 9 blacks and 3 whites.
         189
               Affidavit of Mark Hampton, Exh. C to Govt.’s Resp., at ¶ 4.

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  and Lee would not have consulted on jury selection strategies. In any event, it is unnecessary to

  resolve this issue.

          Petitioner also asserts that the basis of such a strategic decision is inherently racial and

  assumes racial proclivities as to beliefs and tendencies, which in turn discriminates against

  whites. Petitioner further asserts that even if such stereotypes are correct, it is unreasonable to

  rely on them when representing an individual who demeans and discounts the race the attorneys

  seek to favorably exploit.

          It is interesting to note that had the Government recognized the apparent defense strategy

  to seat as many black jurors as possible, presumably by using peremptory challenges only as to

  white jurors, the defense jury selection strategy could have been challenged as unconstitutional.

  The Supreme Court has held that “the Constitution prohibits a criminal defendant from engaging

  in purposeful discrimination on the ground of race in the exercise of peremptory challenges.”190

  Race-based jury selection offends the constitutional rights of the jurors who are eliminated from

  jury service because of their race.191 That Petitioner’s counsel may have allowed race to

  influence the jury selection process does not offend Petitioner’s constitutional rights.

          To the extent that Lee’s counsel approved the jury selection strategy, the Court can not

  say that defense counsel’s jury selection strategy fell below an objective standard of

  reasonableness. In assessing counsel’s performance, the Court must “presume attorneys provide

  effective assistance and [can] not second-guess strategic decisions or exploit the benefits of

  hindsight.”192 To the extent that Lee’s counsel did not in fact participate in or authorize this



          190
                Georgia v. McCollum, 505 U.S. 42, 59 (1992).
          191
                Id. at 48-49.
          192
                Henderson, 118 F.3d at 1287.

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  strategy, a contention that seems highly unlikely, the Court finds that Petitioner has failed to

  demonstrate that he was prejudiced as a result of such strategy. The Court can not find that a jury

  with a different racial composition would have returned a different verdict.

          H.         Conflict of Interest of Attorney Karen Coleman193

          Petitioner raises an ineffective assistance claim in connection with Karen Coleman, an

  attorney who assisted Mr. Lassiter, one of Petitioner’s appointed defense counsel. Prior to the

  trial of this case, Ms. Coleman accepted employment with the Department of Justice to become

  an Assistant United States Attorney in the same office responsible for the prosecution of this

  case.

          On December 7, 1998, Petitioner and this Court both became aware for the first time that

  Ms. Coleman had been hired by the United States Attorney for the Eastern District of Arkansas

  and that she planned to assume her new duties in January of 1999. During the December 7th

  hearing, the Court permitted defense counsel to question Ms. Coleman, Paula Casey (then United

  States Attorney for the Eastern District of Arkansas), and Mr. Lassiter.194 On December 22,

  1998, the Court conducted an evidentiary hearing to consider the issue further.195 The Court

  devoted considerable resources and time to satisfy itself that the circumstances surrounding Ms.

  Coleman’s job change would not compromise Petitioner’s defense. As the Court concluded at

  the end of the December 22nd hearing:

          There is some problem with the timeliness of the disclosure in this case, but this
          record is absolutely clear that Ms. Coleman has not disclosed any confidential
          information that she received during her employment in this case with Mr.


          193
                Karen Coleman is now known as Karen Whatley.
          194
                Hearing, December 7, 1998, Doc. No. 948.
          195
             Hearing, December 22, 1998, Doc. No. 1030; Excerpted Testimony from Hearing, December 12, 1998,
  Doc. No. 987.

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         Lassiter, nor has the United States Attorney requested any such information.
         Furthermore, I’m convinced that both of these attorneys will honor their
         obligations, their oaths as attorneys not to disclose anything during the course of
         this proceeding until it’s over ultimately, appeals and everything else.
         I am assuming and accepting Ms. Casey’s statements that she will build the
         Chinese Wall. She’s gone a little farther than may be required, but I think it’s
         important that she has stated that she is going to move, just physically, the
         operation of this particular case out of her office and that will make it easier to
         insulate the attorneys involved in the case - - the government attorneys involved in
         the case - - from Ms. Coleman. Ms. Coleman is on notice, of course, of the
         concern of the Court and that she should remain - - not only not discuss it, she
         shouldn’t even be near any of the attorneys involved for the government on this
         case from hence forward. I think that’s her attitude and her understanding. So I
         see no actual prejudice of the defendant’s case or their defenses. And if I did, I
         would feel entirely differently about it but I’m going to overrule the defendant’s
         motions, the two that are making motions essentially to disqualify the United
         States Attorney’s Office or to dismiss for improper prosecutorial abuse of
         discretion.196

         Petitioner now brings a litany of ineffective assistance allegations arising out of Ms.

  Coleman’s departure. He contends that his defense counsel, Mr. Lassiter, was ineffective and

  breached his duty of loyalty to Petitioner when he vouched for Ms. Coleman’s integrity at the

  December 7th hearing and by failing to inform Petitioner of Ms. Coleman’s change in

  employment sooner. Second, Petitioner asserts that his counsel were ineffective for failing to

  move to disqualify the United States Attorney’s office based on Ms. Coleman’s employment or

  to join Kehoe’s motion so moving. Finally, Petitioner argues that a hearing is necessary to

  determine whether Ms. Coleman, purposely or not, disclosed privileged and confidential

  information and/or work-product to the prosecution team and whether the United States

  Attorney’s office set up adequate procedures to guard against the deliberate or inadvertent

  disclosure of such information.




         196
               Hearing, December 22, 1998, Doc. No. 1030, at p. 17.

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         Petitioner states that he had significant contact with Ms. Coleman and continued to have

  contact with her after Ms. Coleman had accepted employment with his prosecutors. Petitioner

  complains that Jack Lassiter had known for some time that Ms. Coleman was seeking

  employment with the United States Attorney, but failed to so advise his co-counsel, Ms.

  Compton, or Petitioner. Additionally, Petitioner states that Ms. Coleman was permitted to

  continue working on his case, although it was revealed during the two hearings in December

  1998 that she had been offered the position, had accepted it four or five weeks earlier, and was

  awaiting only a routine background check before commencing her employment there.

         In his affidavit,197 Petitioner states that Ms. Coleman assisted Ms. Lassiter and Ms.

  Compton in investigating the facts of the case and preparing for trial, and that during much of the

  pretrial period, she was his primary contact with the defense team. Specifically, Ms. Coleman

  reviewed hundreds of documents, interviewed defense witnesses, attended defense team

  meetings, met with Petitioner in person and on the telephone, and gathered facts relating to

  Petitioner’s alibi defense. Petitioner states that he had many confidential and privileged

  conversations with Ms. Coleman, who assured him that she was committed to him and his case

  for the “long haul.”

         Petitioner states that he learned about Ms. Coleman’s departure when he called Mr.

  Lassiter’s office and asked to speak with her. Petitioner states he felt completely betrayed,

  especially because it appeared that Ms. Coleman was trying to find out if he had any connection

  to Tim McVeigh or the “midwest bank robbers,” although it had nothing to do with his defense.

         Following the December 7th hearing, Kehoe moved to disqualify the United States

  Attorney’s Office for the Eastern District of Arkansas from further participation in the case.


         197
               Affidavit of Petitioner, Exh. 1 to Petitioner’s Motion, at ¶ 4-36.

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  Petitioner did not join in he motion. The motion to disqualify was denied. Petitioner asserts that

  although it would have been advantageous to have replacement prosecutors who were not as

  knowledgeable about the case, Mr. Lassiter’s testimony supported the integrity of Ms. Coleman

  in a manner adverse to that interest. Petitioner complains that Mr. Lassiter testified that he

  believed in Ms. Coleman’s honesty and integrity and did not believe that she would disclose

  confidential information to the prosecution. Petitioner did not share Mr. Lassiter’s confidence in

  Coleman due to conversations in which she “probed” him for information unrelated to his

  defense. Additionally, Petitioner states that Ms. Coleman and Paula Casey, the United States

  Attorney for the Eastern District of Arkansas, gave conflicting accounts of some of the

  circumstances surrounding Ms. Coleman’s application and hiring. Despite the testimony about a

  “Chinese wall” being built in the prosecutor’s office so that any information that Ms. Coleman

  obtained while she was Petitioner’s attorney would not be shared with the prosecutors on the

  case, Petitioner states that it did not reassure him or restore confidence in his defense team.

          In his affidavit, Petitioner states that he felt “shocked and betrayed” and expresses

  concern about Ms. Coleman “intensively questioning” him on a regular basis. He states that his

  testimony that he had “full confidence” in Mr. Lassiter and in his desire to help him was

  “rehearsed with [his] lawyers ahead of time” and “simply wishful thinking” because he never

  fully trusted his attorneys again after that day.

          The Government responds that no grounds existed to disqualify the United States

  Attorney’s Office for the Eastern District of Arkansas and that the obvious remedy was to wall

  off Ms. Coleman from the attorneys trying the case, which was done. Additionally, even if the

  United States Attorney’s Office for the Eastern District of Arkansas had been disqualified, it is

  likely that Robert De La Cruz, who had been assigned from Washington D.C. to assist in the


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  prosecution, would have continued with additional trial counsel from the Department of Justice

  or another district. The Government points out that Mr. De La Cruz had been working on the

  case for a year and was intimately familiar with the details of the case. Furthermore, the

  Government contends that the evidence against Lee was so overwhelming that an entirely new

  prosecution team would have easily secured a conviction.

         Finally, the Government states that Mr. Lassiter was called as a defense witness and

  testified under oath as to why he had not questioned United States Attorney Casey about the

  Chinese wall to prevent Ms. Coleman from providing information to the attorneys trying the

  case. Mr. Lassiter stated, “I’ve worked with [] Coleman three and a half years. I know her

  integrity.”198 The Government questions whether Mr. Lassiter was supposed to lie or avoid the

  question.

         The Government has submitted an affidavit from Ms. Coleman, which states:

         1.         At no time since joining the United States Attorney’s Office have I
                    revealed any attorney-client privileged information or trial/case strategy
                    learned during the course of my representation of Danny Lee.

         2.         Upon my arrival at the United States Attorney’s Office on January 4, 1999,
                    the Kehoe prosecution team was in the process of moving to offices in
                    another building to prepare for a trial. Until such time as they left the
                    office, I made it a point not to be in the general vicinity of the offices of
                    those attorneys.

         3.         My main task during the defense of Danny Lee was to organize and
                    catalog the evidence received from the prosecution.

         4.         While I did have numerous conversations with Danny Lee during the
                    course of my representation of him, those conversations were to gather
                    information for use to the defense and to relay the information to other
                    members of the defense team. At no time have I divulged information




         198
               Hearing, December 7, 1998, Doc. No. 948, at 52.

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                     learned during those conversations to anyone other than attorneys
                     representing Mr. Lee.199

          In his reply, Petitioner asserts that Ms. Coleman’s acceptance of employment prior to

  ending her representation of him constitutes active representation of conflicting interests.

  Petitioner also asserts that Ms. Coleman’s inaction at the pretrial hearing limiting his access to

  discovery materials demonstrates that the conflict adversely affected her performance.

          While Petitioner’s counsel did not join Kehoe’s motion for disqualification, it attempted

  to use the conflict issue to Petitioner’s advantage. On December 15, 1998, Petitioner’s counsel

  filed a petition to remove death penalty as a potential punishment stating that “[o]bjection has

  been made in open court to what is, or what appears to be, an irremedial conflict of interest,” and

  outlining the details of Ms. Coleman’s move to the United States Attorney’s Office.200

  Ultimately, the motion was denied.201

          “The Sixth Amendment right to counsel has been interpreted to provide for representation

  that is ‘free from conflicts of interest or divided loyalties.’”202 “A defendant bears the burden of

  showing that the conflict ‘adversely affected the lawyer’s performance.’”203 “He may prevail on

  an ineffective assistance claim resulting from either an actual or a potential conflict of

  interest.”204 “Short of demonstrating that his counsel ‘actively represented conflicting interests,’




          199
                Affidavit of Karen (Coleman) Whatley, Exh. E to Govt.’s Resp., at ¶¶ 1-4.
          200
                See Doc. No. 433.
          201
                See Doc. No. 454.
          202
              United States v. Reed, 179 F.3d 622, 624 (8th Cir. 1999) (quoting United States v. Acty, 77 F.3d 1054,
  1056 (8th Cir. 1996)).
          203
                Id. at 624-25 (quoting Cuyler, 446 U.S. at 348).
          204
                Id. at 625.

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  a defendant has not met the constitutional threshold for a claim of ineffective assistance.”205 “If a

  defendant is unable to demonstrate an actual conflict of interest under Cuyler, he may

  alternatively establish that his attorney: (1) had a potential conflict of interest which (2) actually

  prejudiced the defense.”206 “[T]he mere possibility of conflict is insufficient to impugn a

  criminal conviction.”207 “In order to support the second prong of this test, the defendant must

  show that the errors committed by counsel were so serious that the defendant was deprived of a

  fair trial or a reliable result” and “a reasonable probability that, but for counsel’s unprofessional

  errors, the result of the proceeding would have been different.”208

         The Court recognizes that a potential conflict of interest existed. However, Petitioner’s

  claim fails because he cannot demonstrate that the potential conflict of interest actually

  prejudiced the defense. As discussed above, Ms. Coleman’s failure to object to the

  Government’s motion to bar Lee’s access to discovery was not constitutionally deficient, and

  Petitioner failed to demonstrate prejudice due to said failure to object.209 Furthermore, even

  assuming that an actual conflict existed, Petitioner has failed to demonstrate that the conflict

  adversely affected Ms. Coleman’s performance.

         The Court further finds that Mr. Lassiter’s statements to the Court do not constitute

  ineffective assistance of counsel. Mr. Lassiter had an obligation to testify truthfully. Also,

  Petitioner’s counsel’s failure to move for the disqualification of the United States Attorney’s

  office, or to join in Kehoe’s disqualification motion, does not constitute ineffective assistance of

         205
               Id. (quoting Cuyler, 466 U.S. at 350).
         206
               Id.
         207
               Dawan v. Lockhart, 31 F.3d 718, 721 (8th Cir. 1994).
         208
               Reed, 179 F.3d at 625.
         209
               See Section III. D. supra.

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  counsel. As noted above, the motion was denied. Petitioner cannot demonstrate that if his

  counsel would have joined the motion, it would have been granted, or that the result of his trial

  would have been different.

          As to the evidentiary hearing issue, the Government states that a post-conviction

  petitioner is only entitled to an evidentiary hearing if the facts alleged, if true, would entitle him

  to relief.210 Affidavits may be reviewed by the court to determine whether an evidentiary hearing

  is required.211 The Government notes that Lee does not assert in his affidavit that Ms. Coleman

  shared any privileged information. Furthermore, as outlined in Ms. Coleman’s affidavit, there

  could have been no inadvertent sharing of information. Because these facts are uncontested, the

  Government contends that no hearing is required. The Court agrees. In the absence of any new

  information to suggest that Ms. Coleman actually made any disclosure of privileged and

  confidential information and/or work-product to the prosecution team or to suggest that

  Petitioner’s defense was adversely affected by the conflict, this claim may be disposed of without

  a hearing.

          I.         Failure to Capitalize on Inconsistent Testimony Regarding Searches

          Petitioner asserts that although he recalls conflicting testimony regarding the search of a

  storage unit located in Old Town, Idaho, his counsel advised him that no such evidence had been

  presented. Specifically, Petitioner states that he recalls testimony from a federal agent, and an

  accompanying video tape, that documented an initial search of the Old Town unit that disclosed

  no incriminating evidence and a second search, conducted a few days later, where significant

  incriminating evidence was uncovered. Petitioner contends that his trial counsel’s failure to



          210
                Payne v. United States, 78 F.3d 343 (8th Cir. 1996).
          211
                United States v. Goodman, 590 F.2d 705, 712 (8th Cir. 1979).

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  capitalize on such conflicting evidence in summation constituted ineffective assistance of

  counsel.

          The Government responds that it has reviewed the testimony regarding the search of the

  Old Town, Idaho storage unit, and is unable to locate any conflict. Petitioner responds by stating

  that the Government “does not contest the multiple searches at locations which yielded differing

  results,” and that “[f]urther factual development needs to occur regarding these circumstances

  that can challenge the reliability of the evidence discovered.” Petitioner has failed to specify the

  conflicting testimony. Bare allegations will not suffice. After careful review of the portions of

  the transcript cited by the Government regarding the Old Town, Idaho storage unit, the Court

  agrees that there is no conflicting testimony.

          J.      Failure to Object to Improper Closing Argument

          Petitioner argues that during closing argument of the guilt phase, the Government

  engaged in five acts of significant misconduct, which his trial counsel failed to object to and

  preserve. Petitioner contends that trial counsel’s failure to object to each of these acts by the

  Government constitutes ineffective assistance of counsel.

                  1.      Comments Regarding Death Threats

          Petitioner contends that the Government argued that Cheyne Kehoe had faced death

  threats from an inmate who was associated with the Aryan Brotherhood or other Aryan-related

  prison gang. Petitioner asserts that such argument improperly bolstered Cheyne’s testimony and

  placed in front of a jury a prejudicial incident (if it did in fact really occur) that was never

  connected to Petitioner.

          The Government responds that Kehoe’s trial attorney broached the subject during trial by

  asking if Cheyne had ever been placed in an infirmary while incarcerated in Ohio, and Cheyne


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  responded that he had been placed in protective custody.212 Kehoe’s attorney pursued the

  matter.213 On redirect, the Government clarified that Cheyne was placed in the infirmary as a

  safety precaution, and that a prison guard told Cheyne that while he was in the infirmary, an

  Aryan inmate got into the infirmary and threatened him, at which point Cheyne was taken into

  federal custody.214 During the Government’s closing argument, the Government’s attorney

  stated:

            So, you have heard that we have put on - - we have made deals with some of these
            people. We made a deal with Cheyne Kehoe. We moved him out of the state
            prison to a federal prison. What did you hear about that? That Cheyne Kehoe had
            been put in protective custody, and that even after being put in protective custody
            an Aryan inmate came in looking for him and there were death threats on
            Cheyne’s life. Is that a fair deal? That’s a question you can answer yourself.215

            The Government asserts that, throughout the trial, defense counsel argued that the

  Government had made deals with all of its witnesses, including a deal to allow Cheyne to serve

  his Ohio penitentiary time in the federal penitentiary system. The Government contends that

  there was clearly evidence that removing Cheyne to the federal penitentiary was undertaken to

  protect him, not to give him a better place to serve his time. Petitioner rebuts by stating that

  Cheyne’s report that a guard told him of an alleged threatened attack on him was not admissible

  evidence and should not have been argued as such to the jury.

            The Court agrees that considering the defense efforts to suggest that the Government had

  made deals with all of its witnesses, the Government had a right to question Cheyne to clarify the

  reason for moving Cheyne to a federal penitentiary. Clearly, at the time of closing arguments,


            212
                  Tr. 5514.
            213
                  Tr. 5514-18.
            214
                  Tr. 5541.
            215
                  Tr. 6808.

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  the incident in question was already known to the jury as a result of Cheyne’s testimony. The

  Court finds that counsel’s failure to object to the aforementioned comments was not deficient,

  and Petitioner cannot demonstrate prejudice.

                     2.    Comments About Kirby Kehoe’s Failure to Participate in Murders

         Petitioner contends that the Government’s argument that Petitioner’s involvement in the

  plot to kill the Muellers was the cause of Kirby’s decision not to participate is speculation

  premised only upon inadmissible hearsay from Gloria because Kirby did not testify.

         The Government states that it had to prove that Petitioner had a position in the enterprise.

  The Government asserts that it was arguing that Kehoe was the leader of the enterprise, and as

  such, involved Petitioner, despite Kirby’s objection.216 Specifically, in closing arguments, the

  Government stated:

         If you will recall the testimony, Chevie Kehoe brought Danny Lee down to
         Arizona with the plans to do the January, 1996 robbery and murder of the
         Muellers. And because he brought Danny Lee with him, Kirby Kehoe didn’t want
         to play. He didn’t want to go. He didn’t want to participate, and he stayed in
         Arizona.

  According to the Government, this argument was premised on testimony provided by Gloria.

         During cross-examination by counsel for Kehoe, Gloria testified that Kirby told her that

  he had planned a second burglary of the Muellers, but that he “didn’t want to have anyone

  outside the family do it.”217 She also testified that Kehoe “jumped the gun,” and that “Chevie

  wanted Kirby to go,” but Kirby would not go “because of Danny Lee.”218 The Government states

  that the testimony was not offered to prove the truth of the matter asserted, i.e. that Kirby knew



         216
               Tr. 6821.
         217
               Tr. 5134.
         218
               Id.

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  in advance of the Mueller hit, but rather to impeach Gloria for not taking any action to protect the

  Muellers, and thus was not hearsay. Further, the Government states that even if the testimony

  was hearsay, an exception to the hearsay rule applies as the statement was clearly against Kirby’s

  interest.

          Petitioner replies that the Government impermissibly manipulated the alleged

  impeachment evidence brought out by Kehoe’s attorney into substantive evidence of an

  enterprise at closing regarding a non-testifying co-defendant that pled guilty to the enterprise, and

  his counsel should have objected.

          The Government’s argument that testimony was non-hearsay or satisfies an exception to

  the hearsay rule is unavailing. While at the time the testimony was given it may have been

  offered as impeachment evidence, rather than for the truth of the matter asserted, the

  Government’s argument was that the testimony indicated that Kirby did not want to participate in

  the Mueller murders because of Lee’s involvement. Furthermore, the “statement against interest”

  exception applies only when the declarant is unavailable as a witness.219

          The Court notes that Petitioner does not argue that his counsel should have objected to

  the admission of the testimony of Gloria to which the Government referred in closing argument.

  Said testimony was presented to the jury during Gloria’s cross-examination by Kehoe’s counsel.

  The Court agrees that the Government’s comments were improper, and Petitioner’s counsel

  should have objected. Had Petitioner’s counsel objected to the Government’s statement, the

  Court would have instructed the jury that the testimony referenced could only be considered for

  impeachment purposes. However, the Court concludes that counsel’s failure to object does not




          219
                See Fed. R. Evid. 804(b)(3).

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  satisfy the prejudice prong of Strickland because even absent counsel’s error, the result of the

  proceeding would have been the same.

                     3.       Name-Calling

          Petitioner argues that, in its closing argument, the Government engaged in improper and

  unprofessional name-calling that devalued Petitioner’s status as a human being, by referring to

  Petitioner as Kehoe’s “faithful dog.”

          The Government states that this argument colorfully shows Petitioner’s position in the

  criminal enterprise. During closing arguments, the Government stated, “Chevie Kehoe is the

  leader of this enterprise. Danny Lee, Danny Lee is like the faithful dog.”220 The Government

  contends that referring to someone’s similarity to a faithful dog, something that is revered in our

  society, is not name calling and does not lower one’s status as a human being.

          In response, Petitioner asserts that the Government’s comment violates the principles of

  Darden v. Wainwright.221 However, there, the Supreme Court held that although the prosecutor’s

  incorporation of the defense’s use of the word “animal” in reference to the defendant was

  improper, the comments did not deprive the defendant of a fair trial.222 Here, although the

  Government might have more appropriately analogized the relationship between Kehoe and

  Petitioner, the comparison of Petitioner to a faithful dog was not prejudicial and did not impact

  the reliability of the trial process.




          220
                Tr. 6821.
          221
                477 U.S. 168 (1986).
          222
                Id. at 182.

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                     4.     Arguing Facts Not in Evidence

          Petitioner asserts that the Government argued facts that were not in evidence, by stating

  that Petitioner had referred to Nancy Mueller as a “dumb bitch.” In closing, immediately after

  explaining Petitioner’s role as the “henchman,” the Government stated:

          But that’s not all Danny did. Danny told Gloria after the murders, Gloria Kehoe,
          “Bill was one tough son of a bitch,” talking about that fight when Bill fought for
          his life. “Bill was one tough son of a bitch.” But Nancy was a dumb bitch
          because she pulled that plastic bag over her own head.223

          The Government states that Gloria Kehoe testified as follows:

          Q.         What did Mr. Lee tell you about the murders?

          A.         Just said Bill was one tough son of a bitch because he fought so hard and
                     how dumb Nancy was because she thought it was real and helped put the
                     trash bag on her head because she thought it was real.224

  The Government states that the attorney for the Government erred in his recollection of this

  testimony, by using the term “bitch,” but that given the actual testimony, such recollection error

  is understandable. The Government asserts that the matter is trivial. Petitioner rebuts that it is

  not trivial to argue to a jury that a defendant referred to a murder victim as a “dumb bitch” when

  no such statement had been made and is “incendiary to the highest level.” The Court agrees that

  the reference is not trivial, but concludes that it does not rise to the level of Stickland prejudice

  because the Court can not find that the jury’s verdict would have been different without such

  reference.




          223
                Tr. 6822.
          224
                Tr. 4975.

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                      5.        Reference to Kirby Kehoe’s Guilty Plea

           Petitioner contends that the Government improperly referred to Kirby Kehoe’s guilty plea

  as proof of the existence of the RICO enterprise. During closing arguments, the Government’s

  attorney stated:

           Count 2 is a conspiracy to commit racketeering activity, if you will. We talked a
           little bit about that conspiracy being a criminal agreement. It’s an agreement to
           participate in racketeering activity in that the defendants deliberately joined with
           knowledge of the criminal organization’s purpose. Now, Chevie Kehoe didn’t
           join this. He created it. Danny Lee joined it. Faron Lovelace was involved in this
           enterprise. Kirby Kehoe was involved in this enterprise. Kirby Kehoe is not
           present today, because you’ve already been informed that Kirby Kehoe pled guilty
           to Racketeering Act Count 1 for his role and his participation in this criminal
           organization. There are others who were named, Cheyne Kehoe. Cheyne Kehoe
           told you he was up there after the Friedman robbery, and he counted that money
           out that was stolen from the Friedmans. And later, when they got to Ohio, who is
           in that blue Chevrolet Suburban? Cheyne Kehoe, along with Chevie Kehoe. The
           defendants agreed that one of the members of this enterprise would commit at
           least two of the crimes that we call racketeering acts.225

           The Government asserts that it was not arguing that Kirby’s guilty plea was proof of the

  existence of the RICO enterprise. Rather, it was making the point that several people joined the

  criminal organization that Kehoe created, and only mentioned Kirby’s guilty plea in passing.

           In response, Petitioner quotes United States v. Baez226 as follows:

           A codefendant’s guilty plea may not be used as substantive evidence of a
           defendant’s guilt. . . . If the codefendant testifies, however, either the government


           225
                 Tr. 6823-24.
           226
               703 F.3d 453, 455 (10th Cir. 1983). See also United States v. Dougherty, 810 F.2d 763, 767-68 (8th
  Cir. 1987) (holding that it was error for the prosecutor to refer to a codefendant’s conviction related to the
  investigation at issue in opening statements, but that there was no prejudice to the defendant due to the curative
  instruction given, the jury found the defendant not guilty of the only transaction regarding the prosecutor’s improper
  statement, and there was overwhelming evidence of guilt of those counts defendant was convicted of regardless of
  the prosecutor’s statement). But see United States v. Little Boy, 578 F.2d 211, 212-13 (8th Cir. 1978) (granting a
  new trial based upon the prosecutor’s closing argument that improperly served as substantive evidence of
  defendant’s guilt when the court did not give a limiting instruction and the prosecutor strongly implied in closing
  argument that two co-defendant witnesses must have told the truth because they were honest enough to plead guilty
  and accept responsibility for their actions and that defendant must have been lying about his participation in the
  rape).

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           or the defense may elicit evidence of a guilty plea for the jury to consider in
           assessing the codefendant’s credibility as a witness. . . . Because of the potential
           for prejudice, cautionary instructions limiting the jury’s use of the guilty plea to
           permissible purposes are critical.

  Petitioner asserts that even if the Government intended only to demonstrate the size of the

  enterprise via a guilty plea, a reasonable juror would understand that this also established the

  existence of the organization, and thus, counsel were ineffective in failing to object. Petitioner

  further asserts that the language used by the Government asserts that Kirby pled for his role in an

  existing enterprise – “this enterprise” that the jury was considering – and belies the benign

  purpose alleged.

           “Any time a guilty plea of a co-offender is either directly or indirectly brought into a trial,

  trial courts must ensure it is not being offered as substantive proof of the defendant’s guilt.”227

  “Reference to such pleas obviously is capable of seriously prejudicing the defendant’s right to a

  fair trial.”228 The factors a court must consider in reviewing such reference are as follows: (1)

  whether the court gave the jury a limiting instruction; (2) whether there was a proper purpose in

  introducing the fact of the guilty plea; (3) whether the plea was improperly emphasized or used

  as substantive evidence of guilt; and (4) whether the introduction of the plea was invited by the

  defense counsel.229

           The Court agrees with the Government that the purpose in introducing the fact of Kirby’s

  guilty plea was to point out that several people joined the criminal organization that Chevie




           227
               United States v. Rogers, 939 F.2d 591, 594 (8th Cir. 1991) (citing United States v. Wiesle, 542 F.2d 61,
  62 (8th Cir. 1976) (finding a co-defendant or co-conspirator’s guilty plea may not be used as evidence of the
  defendant’s guilt)).
           228
                 Id.
           229
              Id. (citing United States v. Fleetwood, 528 F.2d 528, 532 (5th Cir. 1976); United States v. Kroh, 915
  F.2d 326, 337 (8th Cir. 1990) (en banc) (Lay, C.J., dissenting)).

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  created. The plea was not emphasized. If Petitioner’s counsel had objected, the Court would

  have given essentially the same instruction it later in fact gave regarding this issue, to wit:

           Kirby Kehoe was charged in certain counts and entered a plea of guilty pursuant
           to a negotiated agreement with the government in which he received sentencing
           considerations and the dropping of certain charges in return for his plea of guilty
           and his agreement to assist in the prosecution of this case.
           ...
           You are instructed not to consider the legal effect or consequences of Kirby
           Kehoe’s plea . . . in your deliberations on these charges as they relate to the
           defendants Kehoe and Lee.230

  Also, the Court instructed the jury multiple times that the statements and arguments by the

  attorneys were not evidence.231

           The Court concludes that Petitioner’s claim fails because he cannot establish Strickland

  prejudice due to the limiting instruction given, and the fact that there was overwhelming

  evidence of the existence of the RICO enterprise and Petitioner’s involvement therein regardless

  of the Government’s statement in closing argument.232


  IV.      INEFFECTIVE ASSISTANCE OF COUNSEL DURING THE SENTENCING
           PHASE

           A.         Failure to Challenge the Multiple Killings Aggravating Factor

           Petitioner asserts that the multiple-murder statutory aggravating factor should not have

  been submitted to the jury as an aggravating factor with regard to the murders of William and

  Nancy Mueller. Petitioner states that the multiple killings aggravating factor, found at 18 U.S.C.

  § 3592(c)(16), did not become part of the Federal Death Penalty Act until April 24, 1996, while



           230
                 Tr. 7016-17.
           231
                 Tr. 7013, 7020.
           232
              See Lee, 374 F.3d at 647-48 (“There was sufficient evidence for a reasonable jury to find that both a
  conspiracy and a RICO enterprise existed and that Lee intentionally joined and participated in each.”).

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  the Government’s theory was that the Muellers were killed on January 11, 1996. Petitioner

  contends that counsel’s failure to move to strike the factor constitutes ineffective assistance of

  counsel.

           The Government contends that even if defense counsel had timely objected, the Court’s

  improper submission of the “multiple killings” aggravating factor to the jury is harmless beyond

  a reasonable doubt because the jury properly found at least one other statutory aggravating factor

  as to each murder.233 Specifically, the Government states that the death sentences for William

  and Nancy Mueller’s murders were adequately supported by the “pecuniary gain” statutory

  aggravating factor, and the sentence for Sarah Powell’s murder was adequately supported by the

  “vulnerable victim” factor. The Government further states that the jury can properly consider the

  “multiple killings” aspect of the offense, even if not as a statutory aggravating factor.

           In reply, Petitioner asserts that the decision in Sanders, upon which the Government

  relies, does not support the Government’s contention. In reviewing a death sentence imposed

  under the California statutory scheme, the Supreme Court in Sanders held that “a[n] invalidated

  sentencing factor (whether an eligibility factor or not) will render the sentence unconstitutional

  by reason of its adding an improper element to the aggravation scale in the weighing process

  unless one of the other sentencing factors enables the sentencer to give aggravating weight to the

  same facts and circumstances.”234 The Court further stated that “the death sentence must be set

  aside if the jury’s consideration of the invalidated eligibility factor allowed it to hear evidence

  that would not otherwise have before it.”235 Petitioner contends that the evidence of multiple


           233
                 See Brown v. Sanders, 546 U.S. 212, 222-24 (2006); United States v. Higgs, 353 F.3d 281, 300 (4th
  Cir. 2003).
           234
                 546 U.S. at 218-19.
           235
                 Id. at 219.

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  murders was not properly before the jury as relevant to any of the remaining aggravating factors

  as to any of the murders.

           For a jury to return a sentence of death, the Federal Death Penalty Act requires the finding

  of at least one statutory aggravating factor.236 However, “[t]he jury . . . may consider whether any

  other aggravating factor for which notice has been given exists.”237 Before the jury may consider

  the nonstatutory factors, the jury must find at least one statutory aggravating factor beyond a

  reasonable doubt.238

           As discussed below, the pecuniary gain factor, a statutory aggravating factor which the

  jury found beyond a reasonable doubt, applied to the factual circumstances of the case.

  Therefore, even if counsel had objected to the multiple killings factor due to its enactment date,

  the Court simply would have allowed the jury to consider the multiple killings aggravating factor

  as a nonstatutory factor, as Petitioner had adequate notice thereof. The submission of the

  “multiple killings” aggravating factor to the jury is harmless beyond a reasonable doubt.

  Therefore, Petitioner’s claim fails because he cannot demonstrate the required Strickland

  prejudice.239

           B.         Failure to Challenge the Pecuniary Gain Aggravating Factor

           Petitioner asserts that his counsel were ineffective for failing to bring to the Court’s

  attention authority limiting the applicability of the pecuniary gain factor to situations where the

  murder was the direct and indispensable key to the pecuniary gain, such as a killing done for hire


           236
                 See 18 U.S.C. § 3593(d).
           237
                 18 U.S.C. § 3592(c).
           238
                 18 U.S.C. § 3592; United States v. Mitchell, 502 F.3d 931 (9th Cir. 2007).
           239
                Because the Court finds that Petitioner’s argument is without merit, it need not consider whether Teague
  bars this claim.

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  or a killing done to gain an inheritance or insurance proceeds. He also asserts that his counsel

  were ineffective for failing to move to strike the pecuniary gain factor. Petitioner notes that in a

  letter to the Court dated April 22, 1999, his counsel objected to the submission of the pecuniary

  gain factor on the basis that “this aggravator was meant to be used in cases of murder for hire.”

  Counsel further stated that she only had committee comments to the Eighth Circuit Model Death

  Penalty Instructions and dicta in United States v. Davis240 to support her theory. However,

  Petitioner states that six weeks before the letter was written a district court in New York had so

  held in United States v. Cuff.241

           The Government asserts that there was ample evidence to sustain the jury’s finding

  beyond a reasonable doubt that Lee committed the murders for pecuniary gain. Thus, the

  Government contends that any challenge to the pecuniary gain factor would have lacked merit,

  especially in light of subsequent case law construing the factor, and Petitioner cannot show that

  his counsel’s performance was deficient or prejudicial. The Government further asserts that

  counsel in fact timely objected on the ground that this factor was limited to cases involving

  murder for hire and cited the most directly applicable authorities available. The Government

  contends that counsel’s failure to cite an additional district court opinion was hardly deficient or

  prejudicial, especially in light of the number of federal appellate decisions deciding the issue to

  the contrary.




           240
                 904 F. Supp. 554, 558 (E.D. La. 1995).
           241
                 38 F. Supp. 2d 282, 288 (S.D.N.Y. 1999) (“The sections in question appear to be directed at a murder
  for hire or to collect insurance proceeds, or at least the sort of murder in which pecuniary gain can be expected to
  follow as a direct result of the crime.”).

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           Petitioner and Chevie took cash, gold, guns and gun parts from the Muellers. Kehoe kept

  $50,000 in cash and gold, and guns and gun parts valued at $30,000.242 Kehoe gave Lee between

  $3,000 and $4,000 and one handgun for his involvement in the Mueller murders.243 The

  Government asserts that pecuniary gain motivated Lee’s participation in the murders, not just the

  robbery. Furthermore, the murders were essential to complete the robbery, as Lee told Gloria

  that William Mueller resisted vigorously. The Government states that this left Lee and Kehoe

  with no doubt that they would have to kill him to succeed with the robbery.

           18 U.S.C. § 3592(c)(8), the pecuniary gain factor, provides:

           In determining whether a sentence of death is justified for an offense described in
           section 3591(a)(2), the jury . . . shall consider each of the following aggravating
           factors for which notice has been given and determine which, if any, exist:
                                                      ...
           The defendant committed the offense as consideration for the receipt, or in the
           expectation of the receipt, of anything of pecuniary value.

           The Ninth Circuit has held that “[t]he plain reading of § 3593(c)(8) is that it applies ‘in

  the murder-for-hire scenario . . . or in the robbery scenario (if the defendant committed a

  concomitant murder ‘in the expectation of the receipt of anything of pecuniary value’).’”244

  “Limiting § 3592(c)(8) to murders-for-hire would read the second clause out of the statute.”245

           In Mitchell, the defendant murdered the owner of a vehicle and her granddaughter to

  obtain the vehicle to use in a subsequent robbery.246 There, the Ninth Circuit held that the

           242
                 Tr. 5330.
           243
                 Tr. 5329-30.
           244
              United States v. Mitchell, 502 F.3d 931, 975 (9th Cir. 2007) (quoting United States v. Brown, 441 F.3d
  1330, 1370 (11th Cir. 2006)).
            245
                 Id. (rejecting the defendant’s argument that the pecuniary gain factor is unconstitutional because it fails
  to narrow the class of offenders, is unconstitutionally vague and overbroad, and it automatically triggers capital
  eligibility for every carjacking that results in death).
           246
                 Id.

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  victims “were not murdered incidentally, or solely to cover up a crime, but because ‘pecuniary

  gain was expected to flow directly from the homicide.’”247 The court in Mitchell distinguished

  the facts from those in Bernard,248 where the Fifth Circuit held that it was error to instruct on

  pecuniary value as an aggravating factor where the defendant shot the victims to prevent them

  from reporting their crimes and carjacked and robbed the victims before killing them and burning

  the car.249 The court in Mitchell noted that in the case before it, the defendant’s crime spree was

  ongoing and he needed to kill the victims so the vehicle to be used in the subsequent robbery

  could not be traced to him.250 The court also found that the case was distinguishable from United

  States v. Chanthadara251 because the instruction specified that the “Defendant committed the

  killing as consideration . . ..”252

           Additionally, in United States v. Brown,253 the Eleventh Circuit held:

           Neither Chanthadara nor Bernard supports the argument that the pecuniary gain
           factor is somehow inapplicable in cases involving a robbery or that the factor is
           limited to cases of murder-for-hire. Rather, they simply stand for the




           247
                Id. (quoting United States v. Bernard, 299 F.3d 467, 483-84 (5th Cir. 2002) (“[T]he application of the
  ‘pecuniary gain’ aggravating factor is limited to situations where ‘pecuniary gain’ is expected ‘to follow as a direct
  result of the [murder].’”)).

           248
                 299 F.3d at 483-84.

           249
                 Mitchell, 502 F.3d at 975.

           250
                 Id.
           251
              230 F.3d 1237 (10th Cir. 2000) (holding that the phrasing of the pecuniary value instruction given in
  that case was error because it “failed to specify the ‘offense’ to which it referred was the homicide, not the
  underlying robbery).
           252
                 Mitchell, 502 F.3d at 975.
           253
                 441 F.3d 1330, 1370 (11th Cir. 2006).

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           unremarkable proposition that the murder itself, and not an underlying robbery,
           must be committed in expectation of something of pecuniary value.254
           ...
           Quite simply, the “pecuniary gain” aggravating factor may apply in the “murder-
           for-hire” scenario ( if the defendant committed the murder “as consideration for
           the receipt of ... anything of pecuniary value”) or in the robbery scenario (if the
           defendant committed a concomitant murder “in the expectation of the receipt of
           anything of pecuniary value”). See 18 U.S.C. § 3592(c)(8). The “consideration”
           and “expectation” clauses are two separate ways by which the pecuniary gain
           factor may be satisfied, and they both must have meaning. See Cooper, 91 F.
           Supp. 2d at 105 (discussing the two separate prongs). The pecuniary gain factor
           will not necessarily apply to every robbery/murder scenario, however, and,
           therefore, we must examine the facts of this case.


  In Brown, the defendant stated that during the robbery of the post office he “accidentally” cut the

  murder victim prior to gaining control of the money orders, but that he had no recollection of any

  stabbing after the initial wound.255 The medical examiner testified that the victim was stabbed

  ten times, two of which could have been fatal, but was unable to determine the order in which the

  wounds occurred.256 The court found that “because that first wound [inflicted on the murder

  victim] may have been one of the two fatal wounds, the jury could reasonably have found that

  [the defendant] killed [the victim] before he had control of the money orders, and that the killing

  was necessary so that [the defendant] could complete the robbery (which, obviously, carried with



           254
               Citing United States v. Barnette, 390 F.3d 775, 807-08 (4th Cir. 2004), vacated on other grounds, 546
  U.S. 803 (2005) (finding, in a case involving carjacking and murder, that the district court’s instructions properly
  limited the pecuniary gain factor to the murder, and that the evidence supported the jury’s finding that the murder
  itself was committed with the expectation of receiving pecuniary gain); United States v. Roman, 371 F. Supp. 2d 36,
  46 (D.P.R. 2005) (rejecting the defendants’ motion to strike the pecuniary gain aggravating factor because the
  murder and robbery were committed “practically simultaneous[ly]” and therefore a jury could properly infer that the
  murder was committed for the express reason to effect the robbery, rather than being incident to, or as an
  afterthought to the robbery); United States v. Cooper, 91 F. Supp. 2d 90, 105-06 (D.D.C. 2000) (denying defendant's
  motion to strike the pecuniary gain aggravating factor because a jury could reasonably infer that the murder of a store
  employee during an unsuccessful robbery could have been motivated by the fact that the employee was frustrating
  the robber’s ultimate goal, which was to obtain money from the robbery).
           255
                 441 F.3d at 1371.
           256
                 Id.

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  it the expectation of pecuniary gain).”257 Additionally, the court noted that due to the defensive

  wounds on the victim, the jury “could reasonably have concluded that [the victim] was struggling

  and that [the defendant] had to kill her in order to successfully complete the robbery.”258

          In his reply, Petitioner contends that Allen I 259 supports his argument that the pecuniary

  gain factor applies only where the murder is a necessary condition to the expected pecuniary

  gain. There, a panel of the Eighth Circuit stated that “the application of the pecuniary gain

  aggravating factor is limited to situations where pecuniary gain is expected to follow as a direct

  result of the [murder].”260 The court also stated that “[t]o hold otherwise would convert every

  felony murder in which the underlying felony had a pecuniary object or benefit into a federal

  capital offense,” and there is “nothing in the statute or legislative history to suggest that Congress

  intended such a result.”261

          In Allen I, the defendant killed a security guard during an armed robbery of a bank.262

  The court found that the indictment could not be read to state the essential facts which would

  constitute the pecuniary gain aggravator because “[n]othing in either count necessarily links the

  murder of [the security guard] to the receipt of, or expectation of the receipt of, pecuniary




          257
                Id.
          258
              Id. See also United States v. O'Reilly, 2007 WL 2420830, at *6-7 (E.D. Mich. 2007) (holding that
  because the Government intended to prove that the guard was killed before the defendant and his co-defendants
  obtained any money, a jury could reasonably determine that the murder was motivated by pecuniary gain and was
  committed to complete the underlying robbery).
          259
                United States v. Allen, 357 F.3d 745, 750 (8th Cir. 2004) (Allen I).
           260
               Id. (internal quotes omitted) (citing Bernard, 299 F.3d at 483; Chanthadara, 230 F.3d at 1263; Cuff, 38
  F. Supp. 2d at 288).
          261
                Id.
          262
                Id. at 747.

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  gain.”263 Because the defendant’s indictment could not be reasonably construed to charge a

  statutory aggravating factor, as required for imposition of the death penalty, the Eighth Circuit

  held that the indictment was constitutionally deficient to charge a capital offense.264 The Eighth

  Circuit granted rehearing en banc and vacated the panel’s judgment in Allen II.265

         In Allen II, the Eighth Circuit found that the defendant’s indictment suffered from a Fifth

  Amendment defect.266 However, the court declined to treat the defect as a structural error

  requiring automatic reversal without a showing of prejudice to the defendant.267 After limiting

  itself to the evidence presented to the grand jury at the time of indictment, the court concluded

  that the defect in the indictment did not prejudice the defendant, and thus, was harmless beyond a

  reasonable doubt.268 With regard to the statutory aggravating factors, the court found that any

  rational jury, including the defendant’s grand jury, would have found probable cause to charge

  one of the statutory aggravating factors – that the defendant knowingly created a grave risk of

  death to persons other than the murder victim while committing the bank robbery or in escaping

  apprehension.269 The Court did not address the pecuniary gain factor.




         263
               Id. at 750.
         264
               Id. at 751.
         265
               United States v. Allen, 406 F.3d 940, 942 (8th Cir. 2005) (Allen II).
         266
               Id. at 943.
         267
               Id. at 945.
         268
               Id. at 946-47.
         269
               Id.

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           Even assuming Allen I has precedential value, the court simply held that the facts

  contained in the indictment alone did not support the pecuniary gain factor.270 Allen I expressed

  no opinion as to whether the facts of the case supported the applicability of the pecuniary gain

  aggravating factor.

           As in Brown,271 the evidence at trial indicated that William Mueller strongly resisted the

  robbery. Therefore, the jury could reasonably have concluded that Lee and Kehoe had to kill him

  in order to successfully complete the robbery, which obviously carried with it the expectation of

  pecuniary gain. Also, as in Mitchell,272 the Muellers “were not murdered incidentally, or solely to

  cover up a crime, but because ‘pecuniary gain was expected to flow directly from the homicide.’”

           The Court further finds that counsel in fact timely objected on the ground that this factor

  was limited to cases involving murder for hire, and counsel’s failure to cite an additional district

  court opinion does not constitute deficient or prejudicial conduct. Even if counsel had not



           270
                 In Allen I, the court set forth the language of counts one and two of the Indictment as follows:

           Count one charged a violation of 18 U.S.C. §§ 2, 2113(a) and (e), and alleged that the defendants
                      by force, violence, and intimidation did take from the person or presence of another, a
                      quantity of United States currency, belonging to, and in the care, custody, control,
                      management, and possession of the Lindell Bank & Trust Company, the deposits of which
                      were then insured by the Federal Deposit Insurance Corporation; and in committing such
                      offense did kill Richard Heflin.

           Count two charged a violation of 18 U.S.C. §§ 2, 924(c)(1) and (j)(1), and alleged that the
           defendants
                      knowingly used and carried a firearm during and in relation to a crime of violence which
                      may be prosecuted in a court of the United States, that is, bank robbery as alleged in
                      Count I of this indictment and incorporated herein; and that in so doing [the defendants]
                      committed murder as defined in 18 U.S.C. § 1111, that is, the unlawful killing of Richard
                      Heflin with malice of forethought, such murder being willful, deliberate, malicious,
                      premeditated, and committed in the perpetration of a robbery.

  Allen I, 357 F.3d 745, 749-50 (8th Cir. 2004).
           271
                 441 F.3d at 1370.
           272
                 502 F.3d at 975.

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  challenged the pecuniary gain aggravating factor, Petitioner cannot demonstrate prejudice

  because any challenge would have been rejected.273

           C.         Failure to File Pre-Trial Motions Challenging Constitutionality of the
                      Federal Death Penalty


           This is the first of Petitioner’s three claims challenging the FDPA – two in the context of

  ineffective assistance claims (pre-trial and on appeal) and one direct claim. Because the claims

  are so related, the Court will address all three claims together, infra, in the section of the opinion

  addressing Petitioner’s direct constitutional challenge.274

           The Court notes that Lee’s trial counsel in fact filed a pre-trial motion challenging the

  constitutionality of the death penalty.275 The Court did not rule on the motion until after trial, at

  which time it rejected Petitioner’s pre-trial constitutional challenge.276 Additionally, to the extent

  that the proposed constitutional challenge differs from those challenges made by Petitioner’s trial

  counsel and rejected by this Court previously, Petitioner is unable to demonstrate prejudice

  because the Court finds no merit in the argument that the proposed pre-trial motions challenging

  the constitutionality of the death penalty would have been successful.

           D.         Failure to Challenge Penalty Phase Jury Instruction

           Petitioner claims that counsel were ineffective for failing to note or object to this Court’s

  penalty-phase instructions regarding the range of punishments for the capital counts under the




           273
                Because the Court finds that Petitioner’s argument is without merit, it need not consider whether Teague
  bars this claim.
           274
                 See Section VI.
           275
                 See Doc. No. 289.
           276
                 See Order dated June 15, 1999, Doc. No. 854.

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  Violent Crimes in Aid of Racketeering Activity (“VICAR”) statute found at 18 U.S.C. § 1959,

  which provides in pertinent part:

         (a) Whoever, . . . for the purpose of gaining entrance to or maintaining or
         increasing position in an enterprise engaged in racketeering activity, murders . . .
         shall be punished --
                    (1) for murder by death or life imprisonment . . . .

  Specifically, Petitioner states that the Court instructed the jury as follows:

         Based upon this weighing process, you must determine whether a sentence of
         death is justified. If you cannot unanimously agree upon a sentence of death, you
         must then decide whether to return a sentence of life in prison without the
         possibility of release. Again, your finding with respect to a sentence of life in
         prison without the possibility of release must be unanimous.
         If you unanimously agree upon a sentence of death or a sentence of life in prison
         without the possibility of release, the Court is required to impose that sentence. If
         you cannot unanimously agree upon either a sentence of death or a sentence of life
         in prison without the possibility of release, the Court will impose the sentence
         required by law.277

         Petitioner asserts that the instruction is erroneous because if the jury was unable to reach

  unanimous agreement on a sentence of death, its deliberations were concluded and, as a matter of

  law, because of the mandatory life sentence required by the Violent Crimes in Aid of

  Racketeering Activity (“VICAR”) statute itself, the Court would be required to impose a life

  sentence. Furthermore, Petitioner asserts that the instruction is erroneous because assuming a

  lack of agreement on death, the Court had no authority to impose any sentence other than life

  imprisonment.

         Petitioner asserts that leaving the jury to speculate on the meaning of “the sentence

  required by law” may result in the conclusion that if the jury cannot agree on death or life, the

  Court may impose some lesser sentence. Petitioner further asserts that, as a result, jurors in a


         277
               Tr. 7995-96.

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  minority may be convinced to vote for a death sentence in the face of arguments from jurors

  favoring a death sentence that if they do not all agree on something, Petitioner might be released

  at some point.

         In response, the Government contends that the Court appropriately instructed the jury in

  accordance with the law. In a similar situation, the Supreme Court held that the Eighth

  Amendment does not require that the jurors be instructed as to the consequence of their failure to

  agree, i.e., that the Court would sentence the defendant to life without the possibility of release.278

  The Supreme Court stated:

         We have never suggested, for example, that the Eighth Amendment requires a jury
         be instructed as to the consequences of a breakdown in the deliberative process.
         On the contrary, we have long been of the view that “[t]he very object of the jury
         system is to secure unanimity by a comparison of views, and by arguments among
         the jurors themselves.” . . . We further have recognized that in a capital sentencing
         proceeding, the Government has “a strong interest in having the jury express the
         conscience of the community on the ultimate question of life or death.” . . . We
         are of the view that a charge to the jury of the sort proposed by petitioner might
         well have the effect of undermining this strong governmental interest.279

  Such an instruction would be “an open invitation for the jury to avoid its responsibility and to

  disagree.”280

         Petitioner replies by stating that he does not argue that the Court should have instructed

  the jury on the consequences of a failure to agree unanimously on a verdict of death. Rather,

  Petitioner asserts that the Court erroneously viewed the capital charges as carrying a potential

  punishment of death, life, or some other “sentence required by law,” and erroneously instructed

  the jury on the issue of potential punishment. Petitioner states that Jones did not forbid an

         278
               Jones v. United States, 527 U.S. 373, 381 (1999).
         279
               Id. at 382.
         280
               Id. at 384 (quoting Justus v. Virginia, 220 Va. 971, 979, 266 S.E.2d 87, 92-93 (1980)).

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  instruction in which the jury is told of the consequences of their failure to agree; it simply held

  that it was not required under the constitution.281

           The Court notes that in Jones, the Supreme Court rejected the argument that “the jury was

  led to believe that if it could not reach a unanimous sentence recommendation [the defendant]

  would receive a judge-imposed sentence less severe than life imprisonment, and his proposed

  instruction as to the consequences of the deadlock was necessary to correct the jury’s erroneous

  impression.”282 The Supreme Court also rejected the petitioner’s argument that the “alleged

  confusion independently warrant[ed] reversal of his sentence under the Due Process Clause, the

  Eighth Amendment, and the Act itself.”283 The Supreme Court stated that the district court “did

  not expressly inform the jury that it would impose a lesser sentence in case of a deadlock[,]” but

  “simply told that jury that, if it recommended a lesser sentence, the court would impose a

  sentence ‘authorized by the law.’”284

           The Court concludes that Petitioner’s argument is without merit.285 The Court gave the

  following instruction in written form to the jury for their deliberations:

           At the end of your deliberations, if you determine that the defendant be sentenced
           to death or to life imprisonment without possibility of release, the court is required
           to impose that sentence.
           If you cannot unanimously agree whether the defendant should be sentenced to
           death or life imprisonment without possibility of release, the court will impose a


           281
               See Untied States v. Sampson, 335 F. Supp. 2d 166, 240-41 (D. Mass. 2004) (“Declining to instruct the
  jury on the consequences of a deadlock could result in jurors deliberating based on a misunderstanding of the law
  rooted in speculation and incorrect assumptions.”).
           282
                 527 U.S. at 384, 390.
           283
                 Id.
           284
                 Id. at 390.
           285
                Because the Court finds that Petitioner’s argument is without merit, it need not consider whether Teague
  bars this claim.

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           sentence of life imprisonment or a sentence of life imprisonment without
           possibility of release, as required by law.286


  During deliberations, the jury sent the Court two notes. In response, the Court brought the jury

  back to the courtroom and read this instruction to the jury.287 The Court did not erroneously

  instruct the jury on the issue of potential punishment, as it clearly stated that it would impose a

  sentence of life imprisonment or a sentence of life imprisonment without possibility of release, as

  required by law. Therefore, the Court concludes that the failure of Petitioner’s counsel to object

  to said instructions was not error. Furthermore, even if error occurred, Petitioner cannot show

  prejudice.

           E.         Failure to Challenge Indictment

           Petitioner asserts that his trial counsel erred by failing to make the standard challenge to

  the indictment based on the argument that the aggravating factors and mens rea functioned as

  elements of offense, and thus, had to be included in the indictment. Petitioner states that the

  United States Supreme Court vindicated this view in Ring v. Arizona288 several years after

  Petitioner’s trial and sentencing. Petitioner further states that due to counsel’s failure to

  challenge the indictment on this basis, the issue was reviewed under a plain-error standard, rather

  than a more relaxed standard under which his death sentence would have been vacated.




           286
               Doc. No. 815, Capital Final Instruction 11. The Court read a three-page summary of the penalty phase
  instructions, rather than the entire set of penalty phase instructions, as it had read the entire set of instructions in the
  Kehoe penalty phase and the entire set of actual instructions were be given to the jurors. Tr. 7955.
           287
                 Tr. 7999-8000, 8008-09.
           288
                 536 U.S. 584 (2002).

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          In response, the Government states that at the time of Petitioner’s trial and sentencing,

  binding precedent made clear that there was no requirement for the indictment to include

  eligibility factors, such as statutory intent factors and statutory aggravating factors.289

          Petitioner replies by stating that whether raising this issue was standard practice at the

  time will have to await a hearing, and likely, expert evidence. Petitioner states that similar

  arguments were presented in United States v. Nguyen290 and United States v. Spivey.291 In the

  cases cited by Petitioner, the district courts rejected such arguments.

          First, the Court notes that racketeering acts 4, 5, and 6 in Count One of the Superseding

  Indictment allege that Petitioner “caused the death[s] of” William Mueller, Nancy Mueller, and

  Sarah Powell “with the purpose of causing the death[s] of” William Mueller, Nancy Mueller, and

  Sarah Powell. The statutory intent factors found in 18 U.S.C. § 3591(a)(2) are as follows:

          (a) A defendant who has been found guilty of --
          ...
                   (2) any other offense for which a sentence of death is provided, if the
                   defendant, as determined beyond a reasonable doubt at the hearing under
                   section 3593 --
                            (A) intentionally killed the victim;
                            (B) intentionally inflicted serious bodily injury that resulted in the
                            death of the victim;



          289
               See Jones v. United States, 526 U.S. 227 (1999) (holding that serious bodily injury was an element of
  the offense, rather than a sentencing factor, which was required to be pled in the indictment and proven to a jury
  beyond a reasonable doubt, as it increased the statutory penalty from fifteen years to twenty-five years
  imprisonment); Walton v. Arizona, 497 U.S. 639, 648-49 (1990) (aggravating factors are not “separate . . .
  offenses”), overruled by Ring, 536 U.S. 584 (2002); Lewis v. Jeffers, 497 U.S. 764, 782 (1990) (aggravating factors
  are not “‘elements’ of any offense”).
          290
              928 F. Supp. 1525, 1545 (D. Kan. 1996) (rejecting the argument that the death notice be presented
  before a grand jury).
          291
               958 F. Supp. 1523, 1528 (D.N.M. 1997) (rejecting the argument that § 848 violates the Indictment
  Clause of the Fifth Amendment because it permits the Government merely to give notice of the aggravating factors,
  rather than requiring a grand jury to charge those factors by way of indictment).

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                             (C) intentionally participated in an act, contemplating that the life
                             of a person would be taken or intending that lethal force would be
                             used in connection with a person, other than one of the participants
                             in the offense, and the victim died as a direct result of the act; or
                             (D) intentionally and specifically engaged in an act of violence,
                             knowing that the act created a grave risk of death to a person, other
                             than one of the participants in the offense, such that participation in
                             the act constituted a reckless disregard for human life and the
                             victim died as a direct result of the act,
         shall be sentenced to death if, after consideration of the factors set forth in section
         3592 in the course of a hearing held pursuant to section 3593, it is determined that
         imposition of a sentence of death is justified, except that no person may be
         sentenced to death who was less than 18 years of age at the time of the offense.


         Also, Counts 4, 5, and 6 of the Superseding Indictment allege that Petitioner “as

  consideration for the receipt of anything of value from an enterprise engaged in racketeering

  activity, and to increase or maintain their position in the enterprise, as described in Count I of the

  indictment, and pursuant to and in furtherance of the conspiracy described in Count II of the

  indictment, murdered” William Mueller, Nancy Mueller, and Sarah Powell. The pecuniary gain

  factor reads: “The defendant committed the offense as consideration for the receipt, or in the

  expectation of the receipt, of anything of pecuniary value.”292 Therefore, the Court finds that the

  Superseding Indictment was not defective since it adequately charged the statutory intent factor

  and the pecuniary gain statutory aggravating factor.

         Furthermore, even if the Superseding Indictment was defective, the failure of Petitioner’s

  trial counsel to anticipate a change in the law does not establish that counsel performed below

  professional standards.293 Finally, even if the Superseding Indictment was defective and




         292
               18 U.S.C. § 3592(c)(8).
         293
               Fields v. United States, 201 F.3d 1025, 1028 (8th Cir. 2000).

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  Petitioner’s counsel preserved the issue for direct appeal, his argument is without merit because

  such error was harmless.

           In Allen II, the Eighth Circuit held that “the Fifth Amendment requires at least one

  statutory aggravating factor and the mens rea requirement to be found by the grand jury and

  charged in the indictment.”294 Because the objection was preserved, the Court reviewed the case

  under harmless error analysis by determining whether any rational grand jury would have found

  the existence of the requisite mental state and one or more of the statutory aggravating factors

  found by the petit jury if the grand jury had been asked to do so.295 The court chose to make this

  determination utilizing the narrowest method by limiting review to the evidence presented to the

  grand jury at the time it was asked to indict the defendant, which satisfied the court “beyond a

  reasonable doubt that the error in the case was harmless.”296 The court also set forth two other

  methods of harmless-error review: (1) “to review the entire record, including the evidence

  presented to the petit jury at the trial and penalty phase,” and (2) “to view the petit jury’s verdict,

  which unanimously found the existence of the mens rea requirement and the aggravating factors

  beyond a reasonable doubt, as proof that the grand jury in this case would have charged the

  requisite mental state and the aggravating factors in the indictment.”297

           Upon review of the petit jury’s verdict, the Court is convinced beyond a reasonable doubt

  that any such claimed error in this case was harmless. With regard to the mens rea issue, the

  petit jury found that the Government established beyond a reasonable doubt that Petitioner


           294
              406 F.3d at 943 (noting that Ring did not directly address the issue because it involved a state
  prosecution).
           295
                 Id. at 945.
           296
                 Id. at 946.
           297
                 Id. at 945-46.

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  “intentionally killed” William and Nancy Mueller, and “intentionally and specifically engaged in

  an act of violence, knowing that the act created a grave risk of death” to William Mueller, Nancy

  Mueller, and Sarah Powell, and that “participation in the act constituted a reckless disregard for

  human life” and William Mueller, Nancy Mueller, and Sarah Powell “died as a direct result of

  the act.”298 With regard to the statutory aggravating factors, the petit jury found beyond a

  reasonable doubt that the Government established that Petitioner “committed the offense of

  murdering” William Mueller, Nancy Mueller, and Sarah Powell “in the expectation of receiving

  something of pecuniary value” and “intentionally killed more than one person in a single criminal

  episode.”299 The petit jury also found beyond a reasonable doubt that the government established

  that “Sarah Powell was a particularly vulnerable victim due to her youth, that being eight years

  old.”300

             Furthermore, as in Allen II, Petitioner “had complete and timely notice of the allegations

  against him, through the combination of the indictment and the notice of intent to seek the death

  penalty,” and his “defense during both the guilt and penalty phases was in no way prejudiced.”301

  “Nor is there any dispute that the indictment was sufficiently clear to allow [Petitioner] to use it

  as a bar to being prosecuted again for the same conduct.”302 Thus, Petitioner was not prejudiced,

  as the two primary purposes of an indictment – to give the defendant clear notice of the




             298
                   Doc. No. 816.
             299
                   Doc. No. 816.
             300
                   Doc. No. 816.
             301
                   Id. at 946.
             302
                   Id.

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  allegations that he will have to defend himself against at trial, and to allow him to plead prior

  prosecution as a bar to future prosecution – were satisfied.

         Additionally, the two primary purposes of the grand jury are “the protection of citizens

  against unfounded criminal prosecutions” and “to make ‘the determination whether there is

  probable cause to believe a crime has been committed.’”303 As in Allen II, there is no suggestion

  in this case that the Government “engaged in hasty, malicious, or oppressive persecution of an

  innocent man,” that “the prosecution was unreasoned,” or that the Government singled Petitioner

  “out for prosecution because of personal ill will toward him, racial animus, or any other

  discriminatory reason.”304 Also, the Court is persuaded beyond a reasonable doubt that the grand

  jury would have charged Petitioner with the statutory intent factors and the pecuniary gain

  statutory aggravating factor. As noted above, the evidence at trial indicated that William Mueller

  strongly resisted the robbery, and thus, a jury could reasonably have concluded that Lee and

  Chevie had to kill him in order to successfully complete the robbery, which obviously carried

  with it the expectation of pecuniary gain. With regard to the statutory intent factors, the evidence

  at trial clearly indicates that Lee’s participation in the Mueller murders satisfies said factors.

         Therefore, even if the Superseding Indictment was defective, the Court concludes that any

  rational grand jury would have found probable cause to charge Petitioner with the statutory intent

  factor and the pecuniary gain statutory aggravating factor. Thus, any failure to charge said

  factors in the Superseding Indictment was harmless error. The Court also notes that on direct

  appeal the Eighth Circuit held that “[e]ven if the indictment was defective, Lee cannot show

  plain error,” noting Lee’s receipt of an amended death penalty notice and that “the petit jury’s


         303
               Id.
         304
               Id.

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  findings confirmed the soundness of the judicial proceedings and rendered harmless any

  conceivable error in the charging decision.”305 Therefore, Petitioner’s argument that counsel was

  ineffective for not challenging the Superseding Indictment’s omission of the aggravating factors

  & mens rea allegations fails because Petitioner cannot show prejudice.

           F.       Failure to Conduct Complete and Adequate Investigation of Lee’s True Role
                    in the Wavra Murder


           Petitioner asserts that his counsel were ineffective for failing to conduct a complete and

  adequate investigation of the circumstances of his true role in the murder of Joey Wavra, which

  occurred when Petitioner was 17 years old.

           Petitioner states that one of the Government’s primary arguments for sentencing him to

  death, and for distinguishing his case from Kehoe’s, was the role played by Petitioner in the

  Wavra murder. Petitioner further states that the state criminal case against him was resolved by

  plea of guilty to a charge that he had either taken keys or a bicycle from the victim by force.

  Petitioner asserts that he made statements that ascribed to himself a greater role in the crime than

  was actually true in a misguided effort to help his cousin David Patton – the true perpetrator of

  the murder. Petitioner contends that a properly-conducted investigation of the circumstances of

  the Wavra murder would have revealed his true role, which would have placed his actions in an

  entirely different light and would have led to a different result because one or more jurors would

  have voted for a life sentence.

           The Court agrees with Petitioner that the testimony regarding his role in the Wavra

  murder was powerful and likely contributed to or influenced the jury’s ultimate decision.


           305
               Lee, 374 F.3d at 651. See also Becht, 403 F.3d at 549 (“The standard for prejudice under Strickland is
  virtually identical to the showing required to establish that a defendant's substantial rights were affected under plain
  error analysis.”).

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  However, there is nothing before the Court to indicate that Petitioner’s “true role” in the murders

  was anything other than as portrayed during the sentencing trial. The Government asserts, and

  the Court agrees, that counsel’s investigation into the matter was entirely reasonable and caused

  no prejudice to Petitioner. Importantly, Petitioner provides no evidence of his alleged “true

  role.” Furthermore, the Court notes that Petitioner’s counsel attempted unsuccessfully to

  suppress some of Lee’s statements offered by the Government.

            Petitioner’s argument is without merit.

            G.         Trial Counsel Erred in Stipulating to the Receipt of Evidence Presented at
                       Chevie Kehoe’s Penalty Phase Without Obtaining a Waiver of Petitioner’s
                       Confrontation Rights

            Petitioner argues that his Sixth Amendment confrontation rights were compromised by

  his counsel’s stipulation to a portion of the Kehoe penalty evidence. Further, Petitioner contends

  that by stipulating to such evidence, the error was not preserved on appeal causing the issue to be

  reviewed under the more stringent plain error standard. But for such error, Petitioner contends,

  he would have prevailed on appeal under the less stringent appellate standard and his death

  sentence would have been vacated.306

            On appeal, the Eighth Circuit rejected this identical argument under a plain error review

  based on its finding that “Lee was aware of the stipulation prior to the penalty phase and waived

  his confrontation rights when he did not object to the stipulation in court.”307 Whether Lee

  personally and knowingly waived his confrontation rights may not be revisited on collateral

  review.



            306
                  Pet.’s Motion, Doc. No. 1118, at pp. 32-33.
            307
                  Lee, 374 F.3d at 650.

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          The argument fails for the additional reason that Petitioner can not demonstrate that his

  counsel’s decision to stipulate to a portion of the Kehoe penalty evidence, which consisted of

  testimony by three witnesses (Agent Duvall, Monical Gurel, and Michael Marmaduke) covering

  a total of fifteen transcript pages,308 was professionally deficient or that it prejudiced him in any

  way. The decision was clearly a tactical one. By stipulating to the evidence, Petitioner’s counsel

  avoided again placing before the jury powerful evidence of Petitioner’s crimes, through

  gruesome photographs and evidence related to the Mueller murders, through the testimony of

  Aaron Duvall, and powerfully sympathetic evidence through Sarah Powell’s first cousin Monica

  Gurel and family friend Michael Marmaduke. Most of Agent Duvall’s penalty phase testimony

  and evidence already had been before the jury once during the guilt phase, when Petitioner had

  the opportunity to confront such evidence as well as Agent Duvall’s testimony. So, Petitioner

  was not deprived of his right to confront such evidence. With regard to the two other witnesses,

  both of whom testified about Sarah Powell, their statements were not testimonial in nature and

  arguably triggered no confrontation rights.309 But even assuming they did, the Court can not

  fathom how cross-examining either of these two witnesses could possibly have altered the

  outcome.




          308
                Tr. 7185-7200.
          309
              At present, there is an unresolved issue of law as to whether defendants even have any Sixth Amendment
  confrontation rights during penalty phase proceedings. See, e.g., United States v. Fields, 483 F.3d 313 (5th Cir.
  2007)(“the Confrontation Clause does not operate to bar the admission of testimony relevant only to a capital
  sentencing authority’s selection decision.”); United States v. Johnson, 378 F. Supp. 2d 1051, 1059-62 (N.D. Iowa
  2005) (questioning whether the confrontation clause applies in capital sentencing phase).

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         H.         Trial Counsel Erred in Failing to Object During Government’s Cross-
                    Examination of Dr. Cunningham Regarding Future Dangerousness Based on
                    the Hare Psychopathy Checklist

         This argument relates to the testimony of Dr. Mark Cunningham, a forensic psychologist

  and Lee’s mental health expert. Petitioner argues that his counsel erred in allowing the

  Government to exceed the scope of cross-examination and make Dr. Cunningham a witness for

  the prosecution as to Lee’s future dangerousness. Petitioner contends that counsel “failed to fully

  and continuously object during the government’s cross-examination” and further failed “to

  immediately move and renew their [request for] access to the DOJ materials in order to

  rehabilitate Dr. Cunningham and present what could have been compelling mitigating

  information to rebut the government’s claim.”310

         The subject of Dr. Cunningham’s testimony has received extensive scrutiny, both post-

  trial and on appeal. This Court set aside the death verdict based on its conclusion that the

  Government’s use of Dr. Cunningham to make “an expanded encore presentation” of its case for

  future dangerousness was “fundamentally unfair” to Lee and required that he be given a new

  penalty phase trial.311 In doing so, this Court noted that Petitioner’s trial counsel timely and

  properly objected to the alleged improper cross-examination of Dr. Cunningham.312 The Eighth

  Circuit reversed, finding that this Court abused its discretion in setting aside the death verdict

  based on the claimed evidentiary errors.313 The Eighth Circuit accepted this Court’s conclusion




         310
               Pet.’s Motion, Doc. No. 1118, at p. 33.
         311
               Lee, 89 F. Supp. 2d at 1027-28, 1041-42.
         312
               Id. at 1023, n.2.
         313
               Lee, 274 F.3d at 496.

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  that Petitioner’s counsel had sought and received a continuing objection to the cross-examination

  of Dr. Cunningham concerning future dangerousness issues.314

         Petitioner’s argument is without merit. Trial counsel performed exactly as Petitioner now

  argues that they should have – by interposing a continuing objection to said cross-examination of

  Dr. Cunningham. Additionally, the merits of this issue, which have been ruled on by the Eighth

  Circuit, may not be revisited on collateral review.

         Petitioner’s remaining contention is that his trial counsel erred in failing to seek access to

  “DOJ materials in order to rehabilitate Dr. Cunningham and present what could have been

  compelling mitigating information to rebut the government’s claim.”315 Presumably, Petitioner is

  referring to certain materials to which his counsel were denied access in a pre-trial ruling by

  United States Magistrate John F. Forster, Jr. Petitioner’s counsel later claimed that the denial of

  these materials prevented Dr. Cunningham from obtaining all the information he needed to

  complete a proper risk assessment.316 This Court in its prior opinion quoted from Dr.

  Cunningham’s affidavit in which he identified the requested information as including “specific

  statistical data and procedures, including the rate of assaults among white supremacists in BOP,”

  “a tour of several U.S. Penitentiaries and a more detailed tour of ADX Florence,” which tours

  “would have allowed [Dr. Cunningham] additional specific perspectives regarding confinement,

  rehabilitation, and treatment programs for Mr. Lee.”317




         314
               Id. at 493-94.
         315
               Pet.’s Motion, Doc. No. 1118 at p. 33.
         316
               See Lee, 89 F. Supp. 2d at 1019.
         317
               Id. at 1024, n.3.

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           Contrary to Lee’s suggestion, such materials could not have been used as a mitigating

  factor at trial.318 To the extent that such evidence could have been used by Petitioner to undercut

  Dr. Ryan’s testimony, the Court disagrees that the requested tours and generalized statistical data

  could have changed the outcome of the sentencing trial.

           I.         Ineffectiveness in Utilizing Dr. Cunningham as a Family and Social History
                      Witness

           Petitioner contends that his trial counsel’s decision to use Dr. Cunningham to report or

  narrate Petitioner’s life and family history opened the door to the Government’s cross-

  examination on the inflammatory issue of “psychopathy.” The better course, Petitioner

  contends, would have been to present such history by using the defense mitigation specialist,

  Gloria Settles, and lay witnesses. The Government counters that the decision to have Dr.

  Cunningham forego any specific diagnosis of Lee, but instead to have him present Lee’s family

  and social history including a history of prior mental diagnoses was a reasonable trial strategy.

  The Court agrees.

           Trial counsel’s strategy provided Lee with the benefit of having a certified forensic

  psychologist detail his family and social history, which allowed the expert to summarize such

  history with broad sweeping opinions which were difficult to counter. For example, Dr.

  Cunningham concluded his direct testimony as follows: “Danny Lee experienced many traumatic

  and adverse life experiences that fundamentally shaped him. It shaped him neurologically,

  psychologically, socially, emotionally and ethically, and that I think contributed to his

  involvement in this offense.”319 While Settles may have been able to give a factual accounting of


            318
                See United States v. Johnson, 223 F.3d 665, 675 (7th Cir. 2000) (finding that evidence that maximum
  security federal prisons with control units would be sufficient to control defendant’s dangerous propensities was not
  appropriate mitigating factor; mitigating factors are limited to factors specific to the defendant).
           319
                 Tr. 7742.

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  Lee’s history, she could not have offered the opinions that Dr. Cunningham gave and her

  testimony would have lacked the credibility Dr. Cunningham’s credentials provided.

         Additionally, Petitioner’s trial counsel may not be faulted because their best efforts to

  limit Dr. Cunningham’s testimony on cross-examination failed. Trial counsel attempted to limit

  the risk of damaging cross-examination of Dr. Cunningham by not having him perform any risk

  assessment or offer any testimony on direct as to a formal diagnosis or future dangerousness. It

  was certainly not foreseeable that this Court would allow the Government to expand the cross-

  examination as far as it did.

         The Court rejects, as completely unfounded, Petitioner’s challenge to his counsel’s

  decision to use Dr. Cunningham. His counsel’s performance was objectively reasonable under

  any definition of the phrase.

         J.         Failure to Object to Dr. Ryan’s Testimony and Report

         Petitioner argues that his trial counsel erred by not objecting to the Government’s use of a

  rebuttal witness, neuropsychologist Thomas Ryan, Ph.D., since Dr. Cunningham never diagnosed

  Lee. Petitioner also contends that counsel erred by allowing Dr. Ryan’s report, which contained

  a risk assessment, to be admitted. Finally, Petitioner states that he is prepared at a hearing to

  offer evidence that Dr. Ryan no longer stands by his testimony based on the Hare Psychopathy

  Checklist because it is no longer an appropriate instrument for predicting the future

  dangerousness of capital defendants.320 The Government argues that these issues were addressed

  previously by the Eighth Circuit. The Eighth Circuit concluded that Lee was not unfairly

  prejudiced by the evidence from Dr. Ryan as to Lee’s lack of remorse.321



         320
               Pet.’s Motion, Doc. No. 1118, at p. 34.
         321
               Lee, 274 F.3d at 495.

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         Since it appears most of Petitioner’s claims related to Dr. Ryan’s testimony are likely

  foreclosed by the Eighth Circuit’s prior ruling, the Court considers such claims solely to the

  extent they raise broader issues than those previously presented and rejected by the Eighth

  Circuit.

         First, Petitioner’s premise that Dr. Ryan was offered as a rebuttal witness to Dr.

  Cunningham is flawed, since a fair reading of Dr. Ryan’s testimony indicates that he was called

  primarily to counter the opinion testimony of Petitioner’s expert, Kevin Joseph Bianchini, Ph.D.

  Dr. Bianchini diagnosed Lee with “nonpsychotic mental disorder following organic brain

  damage.”322 Dr. Ryan countered that Lee suffered from no brain damage.323 In any event,

  Petitioner’s counsel were not ineffective for failing to object to Dr. Ryan being called to testify.

  Such objection, had it been made, would have been overruled.

         Second, when Dr. Ryan started to offer testimony as to Lee’s “level of remorse,”

  Petitioner’s counsel objected, arguing that such testimony was “a part of the nonstatutory

  aggravating factor of future dangerousness” which the Court had excluded.324 The Eighth Circuit

  subsequently held that Petitioner’s counsel had preserved this issue, but rejected it on the

  merits.325 To the extent Petitioner’s counsel in fact objected to Dr. Ryan’s testimony, Lee’s

  ineffective assistance claim obviously fails.

         Finally, to the extent that Petitioner claims counsel should have raised additional

  objections to Dr. Ryan’s testimony, Petitioner can not demonstrate prejudice. In light of this



         322
               Tr. 7869.
         323
               Tr. 7907.
         324
               Tr. 7929.
         325
               Lee, 274 F.3d at 493-95.

                                                   - 95 -
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  Court’s prior decision to set aside the death verdict and the Eighth Circuit’s subsequent holding

  that the evidence presented through Dr. Cunningham and Dr. Ryan as to Lee’s psychopathy and

  lack of remorse did not unfairly prejudice Lee, it is difficult to see how any additional objection

  that Petitioner’s counsel could have made to Dr. Cunningham’s or Dr. Ryan’s testimony could

  have altered the outcome.

          K.         Failure to Investigate and Present Available Mitigation Evidence

          Petitioner asserts that his trial counsel were ineffective for failing to place before the jury

  the fact that the Government had, on more than one occasion, offered Lee a sentence of less than

  death and, in fact, had tried to have the death penalty withdrawn as an option following the life

  sentence imposed upon his co-defendant Kehoe. Petitioner further asserts that his trial counsel

  were ineffective for failing to call Marty Barker as a witness to solidify the fact that Kehoe was

  the one who killed the child, Sarah Powell, not Lee. Petitioner vaguely asserts that “[t]here was

  additional readily available mitigating evidence that defense counsel failed to discover or

  present.”326

          The Government asserts that evidence that the local United States Attorney’s office had

  sought Department of Justice approval to withdraw the death penalty notice as to Lee, or offers to

  permit Lee to plead guilty to a life sentence, were no more admissible against the Government

  than offers by Lee to plead guilty would have been admissible against him to prove his death

  penalty eligibility. The Government also asserts that any decision to withdraw the death penalty

  notice unilaterally required the approval of the Attorney General or Deputy Attorney General.

  That approval was denied.




          326
                Pet.’s Motion, Doc. No. 1118, at p. 35.

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           The Court agrees that evidence of the Government’s plea proposals and attempts to

  remove the death penalty was not admissible because it did not relate to Lee’s character or

  background or to the circumstances of the offense.327 Therefore, Petitioner’s arguments in this

  regard are without merit.

           As to the decision not to call Barker, the Government asserts, and the Court agrees, that

  said decision was a legitimate trial strategy. Evidence had already been presented that Kehoe

  killed Sarah Powell. If Petitioner’s counsel would have called Barker to “solidify” this point,

  Petitioner would have arguably waived any Bruton protection regarding testimony that Kehoe

  told Barker he was with a man named “Daniels.” Although Petitioner’s guilt had already been

  determined at that point, additional inculpatory statements surely would not have benefitted Lee

  in the sentencing phase. Petitioner fails to satisfy either prong of the Strickland test.

           L.       Failure to Object to Improper Closing Argument during Penalty Phase

           Petitioner asserts that his trial counsel were ineffective for failing to object to certain

  statements made by the Government during closing arguments during the penalty phase and

  failing to preserve the errors for appellate review. Petitioner identifies the following allegedly

  improper remarks:

           1.       The Government presented numerous arguments related to psychopathy
                    and Movant’s alleged propensity for violence that had been improperly
                    introduced through cross-examination of Dr. Cunningham and the direct
                    examination of Dr. Ryan.



           327
                See 18 U.S.C. 3592(a)(8) (“In determining whether a sentence of death is to be imposed on a defendant,
  the finder of fact shall consider any mitigating factor, including the following: . . . Other factors in the defendant’s
  background, record, or character or any other circumstance of the offense that mitigate against imposition of the
  death sentence.”); Oregon v. Guzek, 546 U.S. 517 (2006) (“The Eighth Amendment . . . insists that a sentencing jury
  be able ‘to consider and give effect to mitigating evidence’ about the defendant’s ‘character or record or the
  circumstances of the offense.’”); Franklin v. Lynaugh, 487 U.S. 164, 173 (1988) (holding that the Court’s edict that,
  in a capital case, “the sentencer . . . [m]ay not be precluded from considering, as a mitigating factor, any aspect of a
  defendant’s character or record and any of the circumstances of the offense,” does not mandate reconsideration by
  capital juries, in the sentencing phase, of their “residual doubts” over a defendant’s guilt).

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         2.      The Government improperly characterized defense counsel’s arguments
                 for life as “smoke and mirrors;” or “that’s like the kid who killed his
                 parents who walked into court, said, ‘Take mercy on me. I’m an orphan’”;
                 or that displaying photographs of Movant was an act of “manipulation” by
                 defense counsel.

         3.      The Government improperly argued that there had been a nexus between
                 the mitigation evidence presented and the commission of the crime.

         4.      The Government improperly characterized evidence of Movant’s family
                 background and development as an effort to “figuratively” blame others
                 for the murders.

         5.      The Government resorted to inflammatory and unfairly prejudicial
                 emotional pleas by arguing that “we” have the right to be safe in our
                 homes – “our sanctuary.” “Doesn’t an eight year-old girl, damn it, have
                 that right?”

         6.      The Government improperly denigrated the protections afforded a criminal
                 defendant on trial for his life by arguing that it was somehow relevant to
                 the jury’s sentencing decision that Movant received more due process than
                 the Muellers received.

         7.      The Government improperly argued that the difference between Movant’s
                 case and Chevie Kehoe’s was that, as argued by Kehoe’s counsel during
                 his penalty phase, [] Kehoe could receive “grace.” The government then
                 argued that it was privy to defense counsel’s state of mind and that Ms.
                 Compton “realized that she couldn’t sell grace to you” because Movant
                 had already had a shot at “grace,” a reference to the Oklahoma murder
                 case. It was also improper to denigrate counsel’s efforts to bring
                 appropriate mitigating circumstances to the jury’s attention as an attempt
                 by defense counsel to “sell” the jury something.

         8.      The Government improperly argued to the jury that Movant should be
                 sentenced to death on the basis of Chevie Kehoe’s actions.

         The Government asserts that the challenged arguments were consistent with its customary

  strategy. Such strategy seeks to hold the defendant responsible for his voluntary and criminal

  actions and to discount defense efforts to blame others or to excuse defendant’s crimes based on

  unrelated mitigating factors, such as upbringing.




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         The Court notes that it has rejected Petitioner’s objections to Dr. Cunningham’s cross-

  examination and Dr. Ryan’s testimony. Petitioner’s counsel did not err in failing to object to the

  mention of said testimony during the Government’s closing arguments. As for the remaining

  statements by the Government, the Court concludes that had counsel objected, the Court would

  not have sustained such objections as the statements were not improper. The Court also notes

  that the closing statements of Petitioner’s counsel eloquently rebutted many of the arguments of

  the Government. Furthermore, even assuming that the arguments of the Government were

  improper, Petitioner has failed to demonstrate prejudice. Therefore, Petitioner’s argument is

  without merit.

         M.         Failure to Ascertain Whether a “Hold-Out” Juror Was Coerced to Reach a
                    Death Verdict

         Petitioner contends that his trial counsel were ineffective in failing to request voir dire to

  determine whether a hold-out juror was coerced into agreeing to the death penalty verdict.

         After the jury retired to consider its verdict in Lee’s penalty phase trial, two notes were

  received by the Court. The first, signed by the foreperson, read, “We have a juror who does not

  believe in the death penalty – no matter what the crime!” The second note, signed by another

  juror, stated, “I think we need more time to discuss it.” After discussing with counsel how to

  respond to the notes, the Court brought the jury back in and reminded the jurors of its earlier

  instructions concerning their duty to deliberate.328 The death verdict was returned slightly over

  one hour after the jury received the supplemental charge.329 Defense counsel requested that the




         328
               Tr. 8008-10.
         329
               Tr. 8010, 8015.

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  jurors be polled. This was done, the result being that each juror individually confirmed his/her

  agreement with the verdict previously returned.330

         Federal Rule of Evidence 606(b) provides:

         Upon inquiry into the validity of a verdict . . . , a juror may not testify as to any
         matter or statement occurring during the course of the jury’s deliberations or to
         the effect of anything upon that or any other juror’s mind or emotions as
         influencing the juror to assent to or dissent from the verdict . . . or concerning the
         juror’s mental processes in connection therewith. But a juror may testify about (1)
         whether extraneous prejudicial information was improperly brought to the jury’s
         attention, (2) whether any outside influence was improperly brought to bear upon
         any juror, or (3) whether there was a mistake in entering the verdict onto the
         verdict form. A juror’s affidavit or evidence of any statement by the juror may
         not be received on a matter about which the juror would be preluded from
         testifying.

  Petitioner presents no evidence of any extraneous prejudicial information, outside influence, or

  mistake affecting the jury’s deliberations or the entry of the jury’s verdict. Therefore, there was

  no basis for further inquiry. The Court agrees with the Government that Petitioner’s claim fails

  because defense counsel requested and received all of the inquiry that was proper under the

  circumstances. Counsel’s failure to request more was neither deficient nor prejudicial.

  V.     INEFFECTIVE ASSISTANCE OF COUNSEL ON APPEAL

         To prevail on his ineffective assistance of appellate counsel claims, Petitioner must

  establish both prongs of Strickland – that counsel’s performance was objectively unreasonable,

  and “that counsel’s ineffective assistance was prejudicial, that is, there was ‘a reasonable

  probability that the outcome of the appeal would have been different if counsel had raised the




         330
               Tr. 8021-22.

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  claim.’”331 The same “strong presumption that counsel’s conduct falls within the wide range of

  reasonable professional assistance” applies to appellate counsel’s conduct.332

           “[T]he Sixth Amendment does not require that appellate counsel raise every colorable or

  non-frivolous issue on appeal.”333 “‘Absent contrary evidence,’ [the Court] assume[s] that

  appellate counsel’s failure to raise a claim was an exercise of ‘sound appellate strategy.’”334

  “When appellate counsel competently asserts some claims on a defendant’s behalf, it is difficult

  to sustain a ineffective assistance claim based on allegations that counsel was deficient in failing

  to assert some other claims.”335 Because one of appellate counsel’s important duties is to focus

  on those arguments that are most likely to succeed, counsel will not be held to be ineffective for

  failure to raise every conceivable issue.336 “Generally, only when ignored issues are clearly

  stronger than those presented, will the presumption of effective assistance of counsel be

  overcome.”337 “The decision to forgo a plain error claim is usually the result of a reasonable

  winnowing of weaker appellate claims,” and thus, rarely leads to the conclusion of ineffective

  assistance.338




           331
                 Roe v. Delo, 160 F.3d 416, 418 (8th Cir. 1998) (quoting Chambers v. Bowersox, 157 F.3d 560, 566 (8th
  Cir. 1998)).
           332
                 Id.
           333
                 Id.
           334
                 Id. (quoting Sidebottom v. Delo, 46 F.3d 744, 759 (8th Cir. 1995)).
           335
                 Link v. Luebbers, 469 F.3d 1197, 1205 (8th Cir. 2006).
           336
                 Id.
           337
                 Id.
           338
                 Delo, 160 F.3d at 418.

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         A.      Failure to Raise Issue of Improper Closing Argument

         In Sections III-J and IV-L, supra, the Court rejected Petitioner’s arguments that trial

  counsel were ineffective for failing to object to certain statements made by the Government

  during closing arguments in the guilt and penalty phases of the trial. For the same reasons, the

  Court concludes that appellate counsel’s failure to raise such issues on appeal is harmless beyond

  a reasonable doubt. Petitioner cannot demonstrate that appellate counsel’s failure to raise such

  issues was objectively unreasonable or prejudicial.

         B.      Failure to Raise Erroneous Submission of the Multiple Killings Aggravating
                 Factor

         In Section IV-A, supra, the Court rejected Petitioner’s argument that trial counsel’s

  failure to object to the submission of the multiple killings statutory aggravating factor to the jury

  constituted ineffective assistance of counsel. Because the pecuniary gain factor applied to the

  facts of the case, and the jury need only find one statutory aggravating factor to impose the death

  penalty, the Court found that Petitioner could not demonstrate prejudice. The Court stated that

  even if trial counsel had objected to the multiple killings factor due to its enactment date, the

  Court simply would have allowed the jury to consider the multiple killings aggravating factor as

  a nonstatutory factor, as Petitioner had adequate notice of said factor, and that the submission of

  the “multiple killings” aggravating factor to the jury was harmless. For the same reasons, the

  Court concludes that appellate counsel’s failure to raise this issue on appeal is harmless beyond a

  reasonable doubt. Petitioner cannot demonstrate that appellate counsel’s failure to raise this

  issue was objectively unreasonable or prejudicial.




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         C.      Failure to Raise Erroneous Submission of Pecuniary Gain Aggravating
                 Factor

         In Section IV-B, supra, the Court rejected Petitioner’s argument that trial counsel’s

  failure to argue that the pecuniary gain statutory aggravating factor should not have been

  submitted to the jury constituted ineffective assistance of counsel. The Court found that trial

  counsel in fact timely objected on the ground that this factor was limited to cases involving

  murder for hire, and counsel’s failure to cite an additional district court opinion did not constitute

  deficient or prejudicial conduct. The Court further found that even if trial counsel had failed to

  challenge the pecuniary gain aggravating factor, Petitioner cannot demonstrate prejudice because

  any challenge would have been rejected. For the same reasons, the Court concludes that

  Petitioner cannot demonstrate that appellate counsel’s failure to raise the issue was objectively

  unreasonable or prejudicial.

         D.      Failure to Raise Issue of Erroneous Penalty Phase Instructions

         Petitioner claims that appellate counsel were ineffective for failing to raise on appeal this

  Court’s erroneous penalty-phase instructions regarding the range of punishments for the capital

  counts under the VICAR statute. In Section IV-D, supra, the Court concluded that it did not

  erroneously instruct the jury on the issue of potential punishment, as it clearly stated that it would

  impose a sentence of life imprisonment or life imprisonment without the possibility of release as

  required by law. For the same reasons stated above, the Court concludes that the failure of

  appellate counsel to raise this issue on direct appeal was not error. Furthermore, even if error

  occurred, Petitioner cannot show prejudice since Petitioner cannot demonstrate that the outcome

  of the appeal would have been different if counsel had raised the claim.




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         E.         Failure to Challenge Constitutionality of the Federal Death Penalty on
                    Appeal

         This is the second of Petitioner’s three claims challenging the FDPA – two in the context

  of ineffective assistance claims (pre-trial and on appeal) and one direct claim. Because the

  claims are related, the Court will address all three claims together, infra, in the section of the

  opinion addressing Petitioner’s direct constitutional challenge. For the reasons discussed in that

  section,339 Petitioner is unable to demonstrate prejudice because the Court concludes that the

  proposed appellate challenges to the constitutionality of the death penalty were either made and

  rejected (and are therefore not reviewable on collateral review) or would have failed if made.

         F.         Failure to Challenge Death Sentence Imposed as to the Murder of Sarah
                    Powell Since the Jury Did Not Find that Lee Committed Deliberate Murder

         Petitioner states that the jury found that Lee had not deliberately taken Sarah Powell’s

  life, but still imposed sentence of death. Petitioner asserts that this presents a substantial Eighth

  Amendment challenge not raised by appellate counsel. The Court notes that trial counsel failed

  to preserve this argument for appeal.

         The verdict forms reflect that the jury did not find that the Government had established

  beyond a reasonable doubt that Petitioner “intentionally” killed Sarah Powell or that Petitioner

  “intentionally participated in an act, contemplating that the life of Sarah Powell would be taken,

  or intending that lethal force would be used against Sarah Powell, and that Sarah Powell died as a

  direct result of that act.” However, the jury found that the Government established beyond a

  reasonable doubt that Petitioner “intentionally and specifically engaged in an act of violence,

  knowing that the act created a grave risk of death to Sarah Powell, and that participation in the




         339
               See Section IX, infra.

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  act constituted a reckless disregard for human life and Sarah Powell died as a direct result of the

  act.”

           18 U.S.C. § 3591(a)(2)(D) provides:

           (a) A defendant who has been found guilty of - -
           ...
                  (2) any other offense for which a sentence of death is provided, if the
                  defendant, as determined beyond a reasonable doubt at the hearing under
                  section 3593 - -
                  ...
                          (D) intentionally and specifically engaged in an act of violence,
                          knowing that the act created a grave risk of death to a person, other
                          than one of the participants in the offense, such that participation in
                          the act constituted a reckless disregard for human life and the
                          victim died as a direct result of the act,

           shall be sentenced to death if, after consideration of the factors set forth in section
           3592 in the course of a hearing held pursuant to section 3593, it is determined that
           imposition of a sentence of death is justified, except that no person may be
           sentenced to death who was less than 18 years of age at the time of the offense.

           Clearly, neither 18 U.S.C. § 3591 nor the Constitution require an intent to kill the

  victim.340 The Court agrees with the Government that appellate counsel’s performance was

  neither deficient nor prejudicial.

  VI.      ERRONEOUS SUBMISSION OF LEE’S JUVENILE CONVICTION

           Petitioner contends that it was error to admit Petitioner’s conviction as a juvenile for an

  offense related to the Wavra murder. Petitioner notes that in Roper v. Simmons,341 the Supreme

  Court struck down death penalty as applied to those under age 18.

           The Government asserts that Petitioner’s claim is barred by procedural default and non-

  retroactivity doctrines because this is the first time he has raised the present argument. “Where a


             340
                 See Tison v. Arizona, 481 U.S. 137, 158 (1987) (holding that the constitution does not require an intent
  to kill to impose the death penalty for felony murder, and that “major participation in the felony committed,
  combined with reckless indifference to human life, is sufficient to satisfy the Enmund culpability requirement”).
           341
                 543 U.S. 551 (2005).

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  defendant has procedurally defaulted a claim by failing to raise it on direct review, the claim may

  be raised in habeas only if the defendant can first demonstrate either cause and actual prejudice,

  or that he is actually innocent.”342 The Government asserts that Petitioner cannot show that trial

  and direct appeal counsel’s failure to pursue this argument was due to a factor external to his

  defense. The Government also asserts that Petitioner cannot show that no reasonable juror would

  have found Petitioner eligible for death but for the error because Lee’s participation in the Wavra

  robbery and murder was relevant solely as a non-statutory aggravating factor, not to Lee’s

  eligibility for the death penalty. The Court agrees. Additionally, it is clear that Petitioner has

  failed to demonstrate actual innocence. Therefore, Petitioner’s claim is barred by the procedural

  default doctrine.

         As to the non-retroactivity issue, the Government contends that Teague bars Petitioner’s

  claim because Petitioner proposes to extend the holding in Roper to bar the introduction of

  evidence, at a capital defendant’s penalty hearing, of non-capital crimes that the defendant

  committed as a juvenile. However, Teague’s rule of non-retroactivity applies only “to those

  cases which have become final before the new rules are announced.”343 Roper was decided on

  March 1, 2005.344 Lee’s petition for a writ of certiorari was filed on February 18, 2005. Notice

  of the petition was filed in this Court on March 3, 2005. The Supreme Court denied Lee’s

  certiorari petition on June 27, 2005.345 A conviction becomes final “for purposes of retroactivity

  analysis when the availability of direct appeal . . . has been exhausted and the time for filing a



         342
               Becht, 403 F.3d at 545 (quoting Bousley v. United States, 523 U.S. 614, 622 (1998)).
         343
               United States v. Becker, 502 F.3d 122, 129 (2d Cir. 2007) (quoting Teague, 489 U.S. at 310).
         344
               543 U.S. 551 (2005).
         345
               Lee, 545 U.S. at 1141.

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  petition for a writ of certiorari has elapsed or a timely filed petition has been finally decided.’”346

  Thus, arguably, Teague does not apply here.

          The Court notes that even if Petitioner’s claim is not barred by the procedural default

  doctrine, Petitioner’s claim is without merit. The circumstances in Roper are not present in this

  case, as Petitioner was over the age of eighteen at the time of the conduct making up the charges

  in this case for which the Government alleges the death penalty is appropriate. Furthermore, the

  Government did not rely on Petitioner’s conduct as a juvenile to cause Petitioner to be “eligible”

  for the death penalty, but as evidence supporting the non-statutory aggravating factor of future

  dangerousness. Thus, the Court concludes that the Government’s use of the Defendant’s adult

  conviction for actions taken while he was a juvenile are not precluded by the principles in

  Roper.347

  VII.    COUNSEL NOT “LEARNED IN THE LAW APPLICABLE TO CAPITAL
          CASES”

          Petitioner asserts that his trial counsel did not meet the statutory definition of “learned in

  the law applicable to capital cases” and, therefore, his sentence of death was illegal. 18 U.S.C. §

  3005 provides in pertinent part:

          Whoever is indicted for treason or other capital crime shall be allowed to make his
          full defense by counsel; and the court before which the defendant is to be tried, or
          a judge thereof, shall promptly, upon the defendant’s request, assign 2 such
          counsel, of whom at least 1 shall be learned in the law applicable to capital cases.
          . . .”

  Additionally, 18 U.S.C. § 3599(b) (formerly 21 U.S.C. § 848(q)(5)) reads:


          346
                Beard v. Banks, 542 U.S. 406, 411 (2004).
          347
              See United States v. Duncan, 2008 WL 711603, *6 (D. Idaho March 14, 2008) (holding that the
  Government’s use of the defendant’s adult conviction for actions taken as a juvenile as an aggravating factor to
  support a sentence of death is not precluded by the principles in Roper); United States v. Davis, 2003 WL 1873088,
  *5 (E.D. La. April 10, 2003) (holding that defendant’s argument that the government cannot rely on criminal conduct
  committed by the defendant as a juvenile as an aggravating factor is without merit).

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         If the appointment [in a death penalty eligible case] is made before judgment, at
         least one attorney so appointed must have been admitted to practice in the court in
         which the prosecution is to be tried for not less than five years, and must have had
         not less than three years experience in the actual trial of felony prosecutions in
         that court.

         The Court agrees with the Government that Petitioner’s claim is barred by the procedural

  default doctrine because this is the first time he has raised the present argument. “Where a

  defendant has procedurally defaulted a claim by failing to raise it on direct review, the claim may

  be raised in habeas only if the defendant can first demonstrate either cause and actual prejudice,

  or that he is actually innocent.”348 The Government correctly asserts that Petitioner cannot show

  that appeallate counsel’s failure to pursue this argument was due to a factor external to his

  defense or that no reasonable juror would have found Petitioner eligible for death but for the

  error. Additionally, Petitioner has failed to demonstrate actual innocence.

         Furthermore, Petitioner’s claim fails on the merits because, by Petitioner’s own

  admission, his trial counsel “had some experience in capital cases.” Petitioner’s counsel are two

  of the most highly respected, experienced, and competent criminal defense attorneys in Arkansas.

  At the time of appointment, Magistrate Judge Forster stated that “[b]oth Mr. Lassiter and Ms.

  Compton are experienced criminal defense attorneys, who are learned in the law applicable to

  capital cases.” Furthermore, in an affidavit submitted by Mr. Lassiter in support of his legal fees,

  Mr. Lassiter outlined his extensive legal experience, including his participation in several capital

  murder cases.349 Both attorneys had been admitted to practice in this Court for over a decade

  prior to the trial in this case. Petitioner’s claim that his counsel, Mr. Lassiter and Ms. Compton,

  were not “learned in the law” is frivolous.



         348
               Becht, 403 F.3d at 545 (quoting Bousley, 523 U.S. at 622).
         349
               See Docket No. 96.

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  VIII. NEWLY DISCOVERED EVIDENCE

           Petitioner adopts by reference the arguments presented by Kehoe, in his amended motion

  for § 2255 relief, that newly discovered evidence exists regarding Kirby Kehoe’s whereabouts at

  the time of the Mueller murders. As the Court discusses in its Memorandum Opinion denying §

  2255 relief to Kehoe, filed on this same date, Kehoe failed to come forward with any newly

  discovered evidence which would place Kirby in Arkansas during the time of the Mueller family

  murders.350 This claim therefore fails.

   IX.     DEATH PENALTY IS UNCONSTITUTIONAL FACIALLY AND AS APPLIED

           Petitioner contends that the “federal death penalty is sought and imposed in an arbitrary

  and capricious manner”351 and violates the Eighth Amendment’s prohibition against cruel and

  unusual punishment. Petitioner makes similar challenges in the context of ineffective assistance

  claims, contending that his counsel should have challenged the constitutionality of the death

  penalty before trial and on appeal. As noted supra, the Court addresses all three claims

  together.352

           As a threshold matter, the Court after reviewing all of Petitioner’s submissions concludes

  that there is no need for an evidentiary hearing. Thus, Petitioner’s repeated assertion that he will

  show “at a hearing” how and why the death penalty is unconstitutional puts the cart before the

  horse. Petitioner’s attorneys are obligated to describe the evidence they have to support their

  constitutional challenges now. They are not entitled to a hearing for the purpose of presenting




           350
                 That portion of the Kehoe opinion, found in Section II, C, is hereby incorporated by reference.
           351
                 Pet’s Motion, Doc. No. 1118, at p. 39.
           352
               The Court notes that in his filings subsequent to the original § 2255 motion, Petitioner has discussed the
  theories together. See, e.g., Pet.’s Reply Brief, Doc. No. 1134, pp. 42-49.

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  evidence unless and until they make a threshold showing that a hearing is necessary. The Court

  concludes, for the reasons described below, that Petitioner has failed to make such showing.

          Many constitutional issues related to the FDPA, and the death penalty in general,

  previously have been addressed in this case by this Court and the Eighth Circuit of Appeals.

  Before trial, Petitioner’s counsel filed a comprehensive challenge to the constitutionality of the

  FDPA and the death penalty in general.353 This Court did not rule on the motion until after

  sentencing at which time it rejected all constitutional arguments.354 While Petitioner’s pre-trial

  motion, for obvious reasons, did not argue that the death sentence was arbitrarily and

  unconstitutionally applied to Lee in light of the fact that the more culpable defendant, Kehoe,

  was sentenced to life, this argument was made on appeal and rejected. The Eighth Circuit

  specifically rejected Lee’s claim that his death sentence was “arbitrarily imposed in violation of

  18 U.S.C. § 3595(c)(1),355 the Fifth Amendment, and the Eighth Amendment because Kehoe, the

  more culpable defendant,356 did not receive the death penalty.”357 The Eighth Circuit also held

  that the FDPA does not require “proportional review of sentences.”358

          Claims expressly raised and rejected on appeal may not be relitigated on collateral

  review.359 This Court may not revisit the constitutional issues resolved by the Eighth Circuit.



          353
                Doc. No. 289.
          354
                See Order dated June 15, 1999, Doc. No. 854.
          355
               This provision of the FDPA required the Eighth Circuit to consider, among other things, “whether the
  sentence of death was imposed under the influence of passion, prejudice or any other arbitrary factor.”
          356
              This Court, having heard the evidence in the case, agrees that Danny Lee is unquestionably “less
  culpable” than Chevie Kehoe in relation to the crimes alleged and proven in this case.
          357
                United States v. Lee, 374 F.3d 637, 652-53 (8th Cir. 2004), cert. denied, 545 U.S. 1141 (2005).
          358
                Id. at 653.
          359
                See Bear Stops v. United States, 339 F.3d 777, 780 (8th Cir.), cert. denied, 540 U.S. 1094 (2003).

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  Additionally, to the extent that any constitutional claims were not ruled on by the Eighth Circuit,

  such claims are foreclosed by existing legal principles.

         Petitioner relies generally on Furman v. Georgia360 for the proposition that the Eighth

  Amendment “will not tolerate the arbitrary and capricious infliction of capital punishment.”361

  Underlying Petitioner’s argument is the suggestion that a sentence of death is per se

  unconstitutional because of the lack of predictability, i.e, the arbitrariness as to who will be

  sentenced to death and the infrequency with which the federal death penalty is sought and

  imposed. Petitioner’s reliance on Furman is misplaced. As the First Circuit has noted:

         In the thirty-four years since Furman was decided, the Court has made
         clear that its decision was not based upon the frequency with which the
         death penalty was sought or imposed. Rather, the primary emphasis of the
         Court’s death penalty jurisprudence has been the requirement that the
         discretion exercised by juries be guided so as to limit the potential for
         arbitrariness.362

         As the Supreme Court has observed, Furman along with Gregg v. Georgia,363 establish

  that a capital sentencing scheme, to pass constitutional muster, must:

         (1) rationally narrow the class of death-eligible defendants; and
         (2) permit a jury to render a reasoned, individualized sentencing
         determination based on a death-eligible defendant’s record, personal
         characteristics, and the circumstances of his crime.364

  Petitioner does not contend that the FDPA does not satisfy this minimum constitutional

  threshold. The Court finds no authority in existing law for the proposition that either the FDPA

  or the death penalty in general are facially unconstitutional.

         360
               408 U.S. 238 (1972).
         361
               Pet.’s Reply, Doc. No. 1134, at p. 45.
         362
               United States v. Sampson, 486 F.3d 13, 23 (1st Cir. 2007).
         363
               428 U.S. 153 (1976).
         364
               Kansas v. Marsh, 548 U.S. 163, 173-74 (2006).

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         Petitioner also complains that the death penalty is unconstitutional as applied “in light of

  the life sentence Chevie Kehoe received.”365 As noted, to the extent this argument was addressed

  and rejected on direct appeal, it may not be relitigated here. Additionally, even if the argument is

  considered on the merits, it must be rejected.

         To place this argument in context, there is no question here that the evidence was

  sufficient to justify the death sentence imposed on Lee. Lee’s death sentence is not out of line or

  disproportionate when one considers the cold-blooded murders in which he participated. “The

  criminal acts with which we are confronted are ugly, vicious, reprehensible acts. Their sheer

  brutality cannot and should not be minimized.”366 Rather, it is the disparity between penalties

  that this Court finds so troubling. If Kehoe and Lee had both received death sentences, there

  would be no need to inquire into the proportionality of the penalties imposed. But, the Eighth

  Circuit has resolved this issue adversely to Petitioner and this Court may not revisit it.

         Recently, in United States v. Johnson,367 the Eighth Circuit specifically rejected the

  contention that “the Eighth Amendment requires not only proportionality between a sentence and

  a particular category of crime, but also proportionality between codefendants’ sentences.”368

  While Johnson received the death penalty for aiding and abetting her boyfriend in killing four

  people, a separate jury in a separate trial imposed a life sentence on her boyfriend for committing

  the same murders. The Eighth Circuit held that the disparity between the two sentences did not

  violate the Eighth Amendment.369

         365
               Pet.’s Supp. Memo., Doc. No. 1144, at p. 1.
         366
               Furman, 408 U.S. at 315 (Marshall, J. concurring).
         367
               United States v. Johnson, 495 F.3d 951 (8th Cir. 2007).
         368
               Id. at 961.
         369
               Id. at 960-61.

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         Similarly, in Getsy v. Mitchell370 the court considered and rejected the defendant’s

  argument that the Eighth Amendment was violated because the more culpable co-defendant, who

  masterminded the crime and hired Getsy, received a life sentence while Getsy, who carried out

  the hit, received the death penalty.371 Getsy was constitutionally protected from irrational

  conviction, the court held, “by the due process requirement that a conviction must be supported

  by sufficient evidence.”372

         This case is different from Johnson and Getsy in that the same jury imposed the arguably

  inconsistent results. Certainly, Lee’s argument would appear to carry more weight.

  However, the hallmark of a constitutional capital sentencing scheme is that any decision to

  impose death must be made following an individualized inquiry.373 Lee and Kehoe are different

  individuals. Each had his separate penalty phase trial, albeit before the same jury. Their

  aggravating and mitigating factors were different. Can it be said that the jury’s decision to find

  Lee deserving of death, but to spare Kehoe, violated Lee’s constitutional rights?

         There is obviously an inherent tension in requiring that every death sentence, to pass

  constitutional muster, be based on an individualized determination as to the suitability of death,

  but then concluding that constitutional principles are violated because a jury making such

  determinations finds death suitable for one guilty defendant, but not for another found guilty of

  the same crime(s). It is also ironic that while in non-death cases judges at sentencing are

  admonished to consider the need for the sentence “to avoid unwarranted sentence disparities



         370
               495 F.3d 295 (6th Cir. 2007) (en banc).
         371
               Id. at 303-04.
         372
               Id. at 307.
         373
               Buchanan v. Angelone, 522 U.S. 269, 275 (1998).

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  among defendants . . . who have been found guilty of similar conduct,” analogous proportionality

  considerations appear to be irrelevant in reviewing death cases.374 Perhaps the Eighth Circuit on

  appeal will provide more guidance on this important issue.

           While this Court, having heard all the evidence at trial, continues to believe it is unfair to

  impose the death penalty on Lee, but not Kehoe, for the murders of the Muellers, any ruling that

  Lee’s death sentence is unconstitutionally arbitrary, irrational, cruel or unusual in light of the life

  sentence that the “mastermind” Chevie Kehoe received would qualify as a “new” rule of

  constitutional criminal law which is foreclosed by Teague v. Lane.375

           Petitioner additionally contends that the FDPA, the federal death penalty in general, and

  the application of the death penalty in this particular case are unconstitutional because the death

  penalty is sought and imposed in a racially and regionally discriminatory fashion. First,

  Petitioner is procedurally barred from his direct constitutional challenge on this basis because he

  failed to present the claim previously and he has made no effort to show “cause” and “prejudice”

  to excuse the default.376 Thus, such claims may be considered solely in the context of his

  ineffective assistance of counsel claims. Second, no matter the context, the claim fails on the

  merits as a matter of law.

           To support his claims that the death penalty is unconstitutional, Petitioner states that he is

  prepared to demonstrate racial bias in an evidentiary hearing during which he will show that in

  the past 18 years the United States has used the federal death penalty to target minority


           374
               18 U.S.C. § 3553(a)(6); Compare Lee, 374 F.3d at 652-53 (holding that proportional review of capital
  sentences is not required by the Eighth Amendment or the FDPA).

           375
               489 U.S. 288 (1989). The Court rejects Petitioner’s argument that the rule announced in Teague does
  not apply to § 2255 motions based on the theory that such proceedings are not yet final. See, e.g., United States v.
  Moss, 252 F.3d 993, 997-98 (8th Cir. 2001) (applying Teague in § 2255 context).
           376
                 United States v. Frady, 456 U.S. 152, 170 (1982).

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  defendants “at a rate of 70% or more.”377 Similarly, Petitioner proposes to demonstrate regional

  bias by showing that more than 70% of the federal death verdicts returned in the last 18 years are

  from Southern states. Finally, Petitioner proposes to demonstrate a “white-victim effect,”

  although it is less clear what evidence he would offer to support this argument.

          The proposed statistical showings as to racial bias, regional bias, and white-victim effect,

  assuming they can be made, are insufficient to merit any relief as a matter of law. The Supreme

  Court has made clear that statistical evidence alone can not prove an equal protection violation.

  In addition to statistical evidence, Petitioner must also adduce “exceptionally clear proof” that

  “the decision makers in his case acted with discriminatory purpose.”378 Petitioner has failed to

  proffer any evidence specific to his own case that the decision makers in this case sought to

  impose the death penalty on him based at least in part on constitutionally prohibited factors.

          It is not that Petitioner’s trial counsel failed to make inquiry into whether his race

  influenced the Government’s decision to proceed with the death. After the jury returned its death

  verdict, Lee’s counsel sought to question Deputy Attorney General Holder as to whether race

  played any role in the decision to continue to seek death against Lee. The issue was not fully

  developed at the trial court level because it was rendered moot by the Eighth Circuit’s reversal of

  this Court’s decision to allow limited discovery into the death protocol issue.379

          A showing of discriminatory effect and intent is generally required to justify discovery on

  a claim of selective prosecution.380 In United States v. Minerd,381 the court rejected the

          377
                Reply Brief, Doc. No. 1134, at p. 47.
          378
                McCleskey v. Kemp, 481 U.S. 279, 292, 297 (1976) (emphasis in original).
          379
                See U.S. v. Lee, 274 F.3d 485 (8th Cir. 2001).
          380
                See, e.g., United States v. Bass, 536 U.S. 862 (2002)(reversing Sixth Circuit’s opinion allowing
  discovery into whether race influenced decision to charge defendants with death-eligible offenses). The Court notes
  that in the underlying Sixth Circuit opinion, 266 F.3d 532 (2001), the court relied in part on public comments made

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  defendant’s claim that he was selected for prosecution under the FDPA because he was white and

  the DOJ was attempting to “balance its statistics by selecting more white defendants for death

  penalty prosecution.” Minerd’s motion to dismiss the government’s death penalty notice was

  denied in part because he could not produce any evidence that the Attorney General’s decision

  with regard to him was made with discriminatory intent.382 In any event, Petitioner has produced

  no evidence that Mr. Holder’s decision to proceed with the death penalty was influenced in part

  by Petitioner’s race (or other improper factors) and, therefore, the Court reluctantly concludes

  that he is not entitled to a hearing on the issue. Petitioner therefore cannot prevail on such

  claim.383

          More troubling to the Court is Petitioner’s argument that the Government violated his

  constitutional rights by insisting on proceeding with the death penalty against him after the jury

  spared Kehoe’s life. The Government, apparently acting through Deputy Attorney General Eric

  Holder, made the decision. Unfortunately, the Court did not learn until too late that a so-called

  “death penalty protocol” existed or that the Government had failed to follow it.384 While this

  Court subsequently ruled that Lee was entitled to a new penalty phase trial based, inter alia, on

  the Government’s failure to follow its own protocol, the Eighth Circuit reversed that ruling,




  by then-Attorney General Reno and then-Deputy Attorney General Holder that they were concerned over racial
  disparities uncovered by a DOJ survey.
          381
                182 F. Supp. 2d 459, 461 (W.D. Pa. 2002).
          382
                Id. at 463.
          383
              However, it is unclear to the Court how the Petitioner here could produce such evidence without being
  given the opportunity to inquire into the basis of the DOJ’s decision.
           384
               Such protocol is found in § 9-10.000 et seq. of the United States Attorney’s Manual. It contains
  procedures for seeking and withdrawing the death penalty notice and includes the requirement that the Attorney
  General is “the ultimate decisionmaker” on such issues. See Lee, 274 F.3d at 488-89 (discussing death penalty
  protocol).

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  holding that Lee had no right to enforce compliance with what it described as DOJ’s “internal”

  death penalty protocol.385

         While much has been said about the DOJ’s disregard of its own protocol for making

  death decisions, little has been said about the fact that the DOJ exercised its prosecutorial

  discretion in disregard of the recommendation of the local U.S. Attorney and her assistants

  involved in the case (including lead counsel), the case agents, and even the victims’ family that a

  death sentence should not be pursued against Lee if the jury spared Kehoe’s life. As this Court

  noted in a letter to the parties shortly after the death verdict was returned:

          Before the jury determined that Mr. Lee should die, all of the attorneys in
          the case appeared to be of a mind that the death penalty would be
          inappropriate in the case of Mr. Lee because the jury had failed to
          sentence Mr. Kehoe to death. Everyone seemed to be in agreement that
          the death penalties for both defendants would have been a possible and
          appropriate outcome, and life without parole for both defendants would
          have been a possible and appropriate outcome; but no one believed that it
          would be appropriate to seek the death penalty for Lee if the death penalty
          had not been imposed upon Mr. Kehoe. Nevertheless, this is the result
          that the jury has handed us.386

         In the eyes of this Court, the DOJ’s insistence on continuing to seek the death penalty as

  to Lee, under the circumstances, casts a pall over the case. But, is it a taint of constitutional

  proportion for which a legal remedy exists on collateral review?

         Petitioner relies on United States v. Littrell 387 to support his position. In Littrell, the

  district court held that the Government’s decision to continue to seek the death penalty against

  the defendant was unconstitutional.388 Littrell was 1 of 40 defendants charged in “the largest


         385
               Lee, 274 F.3d at 492-93.
         386
               Court’s letter of May 17, 1999 at p. 4; attached as Court Exhibit A to Doc. No. 836.
         387
               478 F. Supp. 2d 1179 (C.D. Cal. 2007).
         388
               Id. at 1192.

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  capital murder indictment in American history.”389 The indictment targeted an Aryan

  Brotherhood prison gang and alleged 13 murders, 11 attempted murders, and 3 additional

  conspiracies to murder.390 In concluding that the Government’s continued intention to seek the

  death penalty against Littrell was arbitrary and capricious, the court focused on the lack of

  proportionality between Littrell and the leaders of the organization who had ordered Littrell to

  kill and several others who had committed “identical crimes” but who would not face a death

  sentence, either because a jury rejected a death sentence or the Government decided not to seek

  the death penalty.391 The court held that the Government’s discretionary decision to continue to

  attempt to impose a sentence of death on Littrell was “arbitrary and capricious” because “no

  rational decision-maker” would continue to seek the death penalty under such circumstances.392

         While this Court may agree with Petitioner that Deputy Attorney General Holder’s

  decision to require the Government to continue to seek the death penalty against Lee was

  unreasonable, unfair, and possibly even an abuse of prosecutorial discretion, the question is

  whether that decision violated the Constitution. The Court concludes that it did not. Littrell is

  the only case of which the Court is aware where a district court has overruled and stricken a

  prosecutor’s decision to refuse to withdraw its notice of intent to seek the death penalty because

  more culpable defendants were given life sentences.

         Had Petitioner’s trial counsel here moved to strike the Government’s notice of intent on

  this basis at trial, the Court, while sympathizing with the result in Littrell, concludes that it would



         389
               Id. at 1180.
         390
               Id. at 1182.
         391
               Id. at 1192.
         392
               Id.

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